Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 1 of 72 Page ID #1534




                      Exhibit 13
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 2 of 72 Page ID #1535




             DECLARATION OF DR. STEPHEN W. HARGARTEN, MD, MPH

        I, Dr. Stephen W. Hargarten, M.D., M.P.H. declare under penalty of perjury that

   the following is true and correct:

        1.      My name is Stephen W. Hargarten, M.D., M.P.H. I am an emergency medicine

 specialist, having practiced emergency medicine for over 35 years. I have been board certified

 across four decades. My curriculum vitae, which is attached as Exhibit A, documents my

 educational and research experience in detail.

        2.      I am being compensated for my services in this case at the rate of $250/hour.

                          BACKGROUND AND QUALIFICATIONS

        3.      I received my Medical Degree from the Medical College of Wisconsin in 1975,

 completed my internship at Gorgas Hospital, a U.S. Army hospital in Panama City, Panama in

 1976, and received my Master’s Degree in Public Health at the Bloomberg School of Public

 Health at The Johns Hopkins University in 1984.

        4.      I was an emergency medicine physician in the Milwaukee area for 35 years, most

 recently serving as an Attending Physician at Froedtert Hospital until 2018. As an emergency

 medicine physician, I treated patients who sustained gunshot wounds.

        5.      In addition to practicing emergency medicine, I’ve served as a Professor of

 Emergency Medicine, Chairman of the Department of Emergency Medicine, and Associate Dean

 for Global Health at the Medical College of Wisconsin. In 2001 I founded the Injury Research

 Center, which later was reorganized to become the Comprehensive Injury Center at the Medical

 College of Wisconsin, where I served as Founding Director for nearly 20 years.

        6.      The Comprehensive Injury Center focuses on the sciences of injury prevention

 and control, including violence prevention, through a multidisciplinary public health approach.



                                                  1
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 3 of 72 Page ID #1536




 This includes community engagement, research, education, and collaboration with partners. The

 Center conducts research in a variety of areas, including interpersonal violence, gun violence,

 and opioid use.

        7.      I serve on a number of National and International Committees, including as the

 Chair of the Network to Prevent Gun Violence in the Americas (2020-present), Vice-Chair of the

 Community Preventive Services Task Force of the U.S. Department of Health and Human

 Services (CDC, 2018-present), and member of the Executive Committee of the Transportation

 Research Board of the National Academies of Science, Engineering, and Medicine. I have been a

 member of the National Academy of Medicine since 2011.

        8.      Over the course of my career, I’ve been awarded more than $20 million in

 research grants and awards, including substantial awards by the State of Wisconsin Department

 of Health Services, United States Department of Justice, National Institute of Justice, and the

 Centers for Disease Control and Prevention. In addition, I’ve published more than 100 original

 papers in journals such as the Academic Emergency Medicine, the Annals of Emergency

 Medicine, and New England Journal of Medicine.

        9.      I have reviewed medical‐legal cases for attorneys representing healthcare

 providers and patients. In the past four years, I have served as an expert in Viramontes v. Cook

 County, Case No. 21-cv-4595 (N.D. Ill.); and National Association for Gun Rights v. City of

 Highland Park, Case No. 22-cv-4774 (N.D. Ill.).

        10.     I have been retained by the Office of the Attorney General of Illinois to provide

 expert testimony in litigation challenging various aspects of Illinois Public Act 102-1116, also

 known as the Protect Illinois Communities Act. As of the date of this declaration, the scope of

 my engagement includes providing expert testimony in the following cases: Harrel v. Raoul,



                                                  2
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 4 of 72 Page ID #1537




 Case No. 23-cv-141-SPM (S.D. Ill.); Langley v. Kelly, Case No. 23-cv-192-NJR (S.D. Ill.);

 Barnett v. Raoul, 23-cv-209-RJD (S.D. Ill.); Federal Firearms Licensees of Illinois v. Pritzker,

 23-cv-215-NJR (S.D. Ill.); and Herrera v. Raoul, 23-cv-532 (N.D. Ill.). I have reviewed the

 provisions of Public Act 102-1116 being challenged in this case.

        11.     I hold my opinions to a reasonable degree of medical and scientific certainty. My

 opinions are based on my education, training, research, and clinical experience, as well as my

 knowledge of relevant medical literature and the application of scientific principles to wounding

 ballistics. Also relevant to the formation of my opinions is my knowledge of accepted standards

 of medical practice as they apply to emergency medicine.

                                             OPINIONS

        12.     Each year, more than 45,000 people die from gun-related injuries in the United

 States.1 Many shooting victims do not make it to the hospital, and those who survive are often

 left with serious complications, lifelong disabilities, and psychological trauma.2

        13.     Projectile weapons and their bullets cause damage to a body by transferring

 kinetic energy to the target, which ripples through tissue. The bullet penetrates the body, leaving

 a temporary and permanent cavity in its wake.3 The amount of energy a bullet transfers into a

 target is a function of the bullet’s velocity and mass. The energy delivered to the target increases



 1
  John Gramlich, “What the data says about gun deaths in the U.S.,” Pew Research Center (Feb.
 3, 2022), available at https://www.pewresearch.org/fact-tank/2022/02/03/what-the-data-says-
 about-gun-deaths-in-the-u-s/.
 2
  See, e.g., Arlene Greenspan & Arthur L. Kellerman, “Physical and Psychological Outcomes 8
 Months after Serious Gunshot Injury,” The Journal of Trauma 53(4), at 709–16 (Oct. 2002).
 3
  Alex Yablon, “The Simple Physics That Makes Some Bullets Deadlier Than Others,” The
 Trace (June 21, 2017), available at https://www.thetrace.org/2017/06/physics-deadly-bullets-
 assault-rifles/.


                                                  3
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 5 of 72 Page ID #1538




 geometrically along with increases in mass, and exponentially with increases in velocity. The

 larger a projectile’s surface area, the greater its ability to transfer its energy to the intended

 target.4

            14.   Assault weapons5 present an especially serious public health problem in the

 United States. Assault weapons release projectiles at a relatively high velocity, and can fire more

 bullets and thus release more kinetic energy per minute than other kinds of firearms. And due to

 a variety of factors, including the velocity of the bullet, spin of the bullet, and size of the bullet,

 bullets fired by assault weapons penetrate tissue to create relatively large temporary cavities and

 permanent wound channels that are generally more severe than other kinds of weapons. Assault

 weapons cause extreme damage to the tissue and organs (especially to solid organs such as the

 liver and spleen) of shooting victims, leading to relatively high fatality and complication rates in

 victims.6

 I.         The Energy Release Of Bullets Fired By Assault Weapons Typically Results In
            More Destructive Potential Than From Other Weapons.

            15.   For the past two years, I have researched the energy release and damage to human

 issue of different types of weapons at the Comprehensive Injury Center at the Medical College of

 Wisconsin (“MCW”), in collaboration with the Department of Biomedical Engineering at MCW



 4
     Id.
 5
  For purposes of this declaration, I use “assault weapons” to refer to firearms like the AR-15,
 which typically are capable of firing rounds at relatively high velocity and with a high rate of
 delivery, are lightweight and easy to maneuver, have low recoil, and display a high degree of
 accuracy at long range. This kind of weapon is encompassed by the definition of “assault
 weapon” in Public Act 102-1116. See 720 ILCS 5/24-1.9 (new).
 6
  See, e.g., Gina Kolata and C. J. Chivers, “Wounds From Military-Style Rifles? ‘A Ghastly
 Thing to See’,” The New York Times (Mar. 4, 2018), available at
 https://www.nytimes.com/2018/03/04/health/parkland-shooting-victims-ar15.html.


                                                     4
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 6 of 72 Page ID #1539




 and Marquette University. Over the past several years, I, along with a group of collaborators,

 have sought to perform wound ballistics modeling with state‐of‐the‐art video technology and

 sensors. Specifically, we designed an experiment to gain a greater understanding of how the

 bullet “behaves” and transfers energy in simulated human tissue (gelatin). We wanted to quantify

 the scope and nature of the energy release, as summarized by this equation: Kinetic Energy

 equals ½ mass times velocity squared.7 We wanted to measure the size of the permanent and

 temporary cavities created by the bullet as it travels through the human body model. We sought

 to measure energy release and cavity size because both are wounding predictors in the human

 body.

         16.     To do so, we partnered with the Wisconsin Crime Lab, Division of Firearms and

 Toolmark Examiners, in Milwaukee, Wisconsin, where we identified and utilized firearms from

 their laboratory. Specifically, we conducted biomechanical testing of the bullets released from

 several different types of firearms, with the standard ammunition associated with those weapons.8

 We used three handguns, (all pistols with .25 caliber, .32 caliber, and .40 caliber bullets), a bolt-

 action Remington hunting rifle (.30‐06 caliber), an AR-15 style rifle (5.56 NATO bullets), a

 Thompson Machine gun rifle (.45 caliber ACP bullet), and a musket model (musket ball). These




 7
  Panagiotis K. Stefanopoulos et al., “Wound ballistics of military rifle bullets: An update on
 controversial issues and associated misconceptions,” Journal of Trauma and Acute Care Surgery
 87(3), at 696 (Sept. 2019).
 8
   The size of the bullet can affect wound severity. In general, holding all else equal, larger caliber
 rounds are more likely to cause more severe injuries because they increase the surface area of
 affected tissue. See, e.g., Anthony A. Braga & Philip J. Cook, “The Association of Firearm
 Caliber With Likelihood of Death From Gunshot Injury in Criminal Assaults,” JAMA Network
 Open 1(3) (July 27, 2018), available at
 https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2688536.


                                                     5
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 7 of 72 Page ID #1540




 weapons were chosen to compare the energy output and resulting cavity size from different types

 of weapons and bullets.

        17.     The bullet rounds were shot into gelatin. We chose to use gelatin because it

 simulates, with a similar projectile depth of penetration and permanent damage, the damage done

 to human soft tissue. Gelatin blocks allow researchers to measure and visualize the energy

 transfer, temporary cavity, and permanent wound channels created by a projectile.9

        18.     When conducting the experiment, science leaders, technicians, and doctoral

 students from the Bio‐Engineering Department of the Medical College of Wisconsin/Marquette

 University set up the video technology sensors and gelatin, while the Wisconsin Crime Lab

 personnel set up the stand for the firearms. The distance from the firearm to the gelatin was

 approximately 10 feet.

        19.     We tested several bullets associated with different types of firearms to record and

 quantify the scope and nature of the permanent and temporary cavities and to quantify the energy

 release of the bullets with two energy sensors affixed into the gelatin. The system was set up so

 that when the bullet was released from the firearm, the passage of the bullet thru the gelatin was

 recorded by high-speed video technology and the energy release was quantified by the two energy

 sensors.

        20.     The two pressure transducers with range 0 – 50 megapascals (Entran Sensors &

 Electronics, Fairfield, NJ) were inserted about ten millimeters deep into the gelatin,


 9
   See, e.g., D.J. Carr et al., “The use of gelatine in wound ballistics research,” International
 Journal of Legal Medicine 132(6), at 1659–64 (Apr. 25, 2018), available at
 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6208714/. For a helpful video demonstration of
 a similar gelatin experiment comparing a bullet fired by a 9mm handgun and one from an AR-
 15, see this 60 Minutes episode “What makes the AR-15 style rifle the weapon of choice for
 mass shooters?” (May 29, 2022), available at https://www.cbsnews.com/news/ar-15-mass-
 shootings-60-minutes-2022-05-29/.


                                                  6
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 8 of 72 Page ID #1541




 perpendicular to the bullet path and recorded at 300 kHz. One sensor, the near sensor, was close

 to the front of the gelatin block; the other sensor, the far sensor, was close to the back of the

 gelatin block. Data capture was triggered after the bullet was fired using a sound-triggering

 device (Woods Electronics, Poway, CA). Pressure was filtered at 2.5 kHz using a low‐pass

 Butterworth filter (MATLAB, The MathWorks, Inc., Natick, Massachusetts) and analyzed over

 time to evaluate peaks for maximum pressure.

        21.     The experiment measured a number of metrics; the results of the experiment are

 summarized in Exhibit B.

        22.     First, the experiment measured pressure caused by the bullet. Pressure, which was

 measured by the two different sensors at different points in the gelatin, represents the transferred

 energy of the bullet as it enters and travels through the gelatin (i.e., the simulated human tissue).

 The pressure readings show the amount of energy release that is exerted on human tissue.

        23.     Second, the experiment measured the temporary cavity and permanent cavity

 formed by the bullet. A permanent cavity is formed by the mass of the bullet traveling through the

 gelatin, which causes crushing and tearing of the gelatin, similar to what occurs in human tissue

 and organs. The temporary cavity is formed by the dispersion of the kinetic energy radially from

 the permanent cavity path, resulting in the stretching and tearing of the gelatin, again similar to

 what occurs in human tissue and organs. The temporary cavity caused by the energy release is

 similar to when water is displaced when a diver enters a pool.

        24.     Third, the experiment measured energy lost by the bullet as it transferred through

 the gelatin. This was measured by calculating the different energies from the first and second

 transducer, thus resulting in a calculated transfer of energy to the gelatin. This represents the

 energy that human tissue will absorb as the bullet passes through the body.



                                                   7
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 9 of 72 Page ID #1542




        25.       Fourth, we measured the percentage of the bullet’s energy transferred to the

 gelatin by the bullet. This was calculated by taking the energy transferred and comparing it to the

 kinetic energy of the bullet leaving the chamber. Occasionally a bullet will fragment when it

 enters the gelatin (which also occurs with human tissue). Energy transfer generally increases

 when a round fragments, because energy is released into the fragments and spread over a greater

 surface area.

        26.       We found that the energy release of a 5.56 NATO round fired by an AR-15 style

 rifle (1,055.05 joules) is significantly greater than that of a round fired by a handgun (54.13

 joules for a .25 caliber, 108.73 joules for a .32 caliber, and 265.99 joules for a .40 caliber), a .45

 caliber round fired by a Thompson Machine gun (301.81 joules), and a musket ball fired by a

 musket (111.27 joules). In fact, the energy release is approximately three times greater than a

 Thompson Machine gun, approximately four to nineteen times greater than the handguns

 (depending on the caliber), and approximately ten times greater than a musket. The energy

 release is even larger in a 5.56 NATO round when the bullet fragments, which it did in our

 second testing of the 5.56 NATO (1,138.13 joules).

        27.       Furthermore, the temporary cavity caused by the 5.56 NATO bullet was

 significantly larger than the cavity sizes caused by the handguns, Thompson Machine gun, and

 the musket. And again, the temporary cavity of the AR-15 increased, by nearly 2 inches, with

 fragmentation.

        28.       The only weapon that came close to producing energy and temporary cavities

 comparable to the 5.56 NATO round was the .30-06 round from the Remington hunting rifle,

 which is often used to hunt large game. However, a shooter firing an AR-15 style weapon is

 capable of firing substantially more rounds per minute than someone shooting the Remington



                                                    8
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 10 of 72 Page ID #1543




  hunting rifle for a variety of reasons, including because the hunting rifle requires the shooter to

  pull the bolt back before firing each round (i.e., the hunting rifle requires the shooter to manually

  cycle the round); the hunting rifle produces a higher recoil, which means the shooter typically

  must re-aim after each shot; and the hunting rifle has a magazine of only 3-5 rounds, which

  requires more frequent reloading. Because the shooter firing the AR-15 style weapon is capable

  of firing substantially more rounds per minute than the shooter firing the hunting rifle, the AR-

  15, in effect, releases significantly more energy on a per-minute basis than the hunting rifle.

         29.     It is my opinion that the AR-15 style bullet’s kinetic energy release with its

  associated greater permanent and temporary cavities is more destructive than those fired by the

  Thompson Machine gun rifle, handguns, and muskets. Additionally, when considering the

  number of rounds per minute that each type of firearm is capable of firing, it is my opinion that

  an AR-15 style weapon is capable of significantly more destruction than a hunting rifle.

         30.     Large-capacity magazines only increase this destructive potential by increasing

  the number of rounds someone can fire without having to reload, thereby increasing the number

  of bullets that can be fired during a given time period.

  II.    AR-15 Style Weapons Produce More Damage to the Human Body Than Other
         Weapons.

         31.     The significant differences in energy transfer and temporary and permanent cavity

  sizes associated with rounds fired by AR-15 style weapons as compared to rounds fired by other

  weapons (including on a per-minute basis) have direct implications for injury and death.

         32.     AR-15 style weapons are capable of inflicting enormous damage on the human

  body, especially for children. Specifically, critical solid organs are more at risk, and the relative

  proximity of vital organs to each other in children increases the likelihood of serious injury or

  death, from gunshot wounds caused by an AR-15 style weapons than those caused by a lower-


                                                    9
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 11 of 72 Page ID #1544




  velocity weapon. Organs such as the liver and spleen, which are relatively inelastic organs due to

  their cellular structures (versus lung tissue, which is very elastic due to their need to inflate and

  constrict) are more severely lacerated due to the greater temporary cavity formation by these

  bullets, resulting in veins and arteries torn, which increases the risk of catastrophic bleeding. In

  addition, bullets from AR-15 style rifles are more likely to cause significant damage to bones and

  skeletal structure due to the higher energy release.

         33.      This reality is borne out by the experiences of those who have recently treated

  victims of mass shootings involving assault rifles. For example, trauma doctors and nurses who

  treated patients in the Pulse nightclub shooting in Orlando and other mass shootings “commented

  on the unbelievable devastation resulting from the bullet wounds.”10

         34.      The damage to the human body of bullets fired by assault rifles is amplified when

  there are multiple bullet wounds and in smaller bodies such as children. In a multiple-gunshot

  case, there are multiple cavities with energy being transferred to different places inside the body,

  which means the victim’s wounds are typically more complex, carry a higher likelihood of injury

  requiring surgical intervention, and carry a higher likelihood of death in the emergency

  department.11

         35.      Finally, while the likelihood of serious injury and death from a wound caused by

  an assault weapon is high for adult victims, the likelihood of serious injury or death for pediatric

  victims is even greater. Because children have smaller torsos, relatively more


  10
     Leana Wen, “What Bullets Do to Bodies,” The New York Times (June 15, 2017), available at
  https://www.nytimes.com/2017/06/15/opinion/virginia-baseball-shooting-gun-shot-
  wounds.html?_r=1.
  11
     Brendan G. Carr et al., “Outcomes related to the number and anatomic placement of gunshot
  wounds,” Journal of Trauma 64(1), at 197–202 (Jan. 2008), available at
  https://pubmed.ncbi.nlm.nih.gov/18188121/.


                                                    10
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 12 of 72 Page ID #1545




  compressed/adjacent vital organs, and smaller blood reserves, the energy release and greater

  temporary and permanent cavities associated with AR-15 style bullets are even more likely to

  cause serious damage to children as compared to teenagers or adults. Not a single child wounded

  by an assault weapon at Sandy Hook survived, for example.12 Those patients who do survive

  after having been struck by these bullets often face surgical challenges, recurring operative

  procedures, and long‐term recovery and disability that is often significantly more complex and

  difficult to manage than for older victims.




  12
    Report of the State’s Attorney for the Judicial District of Danbury on the Shootings at Sandy
  Hook Elementary School and 36 Yogananda Street, Newton, Connecticut on December 14, 2012
  (Nov. 25, 2013) at p. 10, https://portal.ct.gov/-/media/DCJ/SandyHookFinalReportpdf.pdf.


                                                  11
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 13 of 72 Page ID #1546




         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

  United States of America that the foregoing is true and correct.



         Executed on January 30th, 2023 at Shorewood, Wisconsin.



                                                       /s/    Stephen Hargarten




                                                  12
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 14 of 72 Page ID #1547




                          Exhibit A
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 15 of 72 Page ID #1548

                                CURRICULUM VITAE (Jan. 2023)
                                  Professor of Emergency Medicine

     Home Address:            2411 E. Menlo Boulevard
                              Shorewood, WI 53211

     Office Address:          The Hub for Collaborative Medicine
                              8701 W Watertown Plank Rd.
                              Milwaukee, WI 53226
                              Email: hargart@mcw.edu

     Birth date:              January 5, 1949

     Marital Status:          Married, 1987 - Janis
                              Children: Beth, Jordan, Leah

     Education:

              1984            MPH, Johns Hopkins School of Public Health and Hygiene

              1975            MD, Medical College of Wisconsin

              1971            BA, University of Wisconsin, Milwaukee

     Postgraduate Training:

              1975-1976       Rotating Internship, Gorgas Hospital, Canal Zone, Panama

     Faculty Appointments:

              2020-present    Senior Injury and Policy Advisor, Comprehensive Injury Center at the Medical
                              College of Wisconsin

              2017-2019       Co-Director, Global Health Pathway, Medical College of Wisconsin

              2014-2016       Faculty Representative, Board of Trustees, Medical College of Wisconsin

              2013-2017       Director, Global Health Pathway, Medical College of Wisconsin

              2013-2017       Adjunct Faculty, Joseph J. Zilber School of Public Health, University of
                              Wisconsin

              2012-present    Graduate Faculty, Graduate School of Biomedical Sciences, Medical College of
                              Wisconsin

              2010-2021       Associate Dean, Global Health, Medical College of Wisconsin

              2010-2014       Institute for Health and Society, Medical College of Wisconsin

              2008–present    Adjunct Professor, Department of Population Health Sciences
                              University of Wisconsin School of Medicine and Public Health

              2001-2020       Director, Comprehensive Injury Center at the Medical College of Wisconsin

              1998-present    Professor, Department of Emergency Medicine, Medical College of Wisconsin
        Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 16 of 72 Page ID #1549
                                                                                                                   -2-
                                                                                        Stephen W. Hargarten, MD, MPH

                      1998-2018                 Chairman, Department of Emergency Medicine, Medical College of Wisconsin

                      1998-2001                 Director, Wisconsin Injury Research Center, Department of Emergency
                                                Medicine, Medical College of Wisconsin

                      1997-2002                 Director, Firearm Injury Center, Department of Emergency Medicine, Medical
                                                College of Wisconsin

                      1994-1997                 Associate Professor, Interim Chairman, Department of Emergency Medicine,
                                                Medical College of Wisconsin

                      1994-1996                 Instructional Academic Staff Preceptor, Physician Assistant Program,
                                                Department of Family Medicine & Practice, University of Wisconsin Medical
                                                School - Madison, WI

                      1994-2004                 Health Policy Institute, Medical College of Wisconsin

                      1989-1994                 Assistant Professor of Emergency Medicine, Medical College of
                                                Wisconsin

                      1985-1988                 Assistant Clinical Professor, Department of Trauma and Emergency Medicine,
                                                Medical College of Wisconsin

             Hospital and Administrative Appointments:

                      1995-2018                 Attending Staff, Froedtert Hospital

                      1992-1997                 Associate Attending Staff, Children’s Hospital of Wisconsin

             Hospital Appointments: (past)

                      1988-1995                                                       Associate Attending Staff, John L. Doyne Hospital,
                                                Milwaukee, WI

1984-1988                                                                             Staff Physician, Emergency Department, St.
                                                Luke’s Hospital

                      1984-1985                 Staff Physician, Emergency Department, St. Joseph’s Hospital

1976-1983                                                                             Staff Physician, Emergency Department, St. Mary’s
                                                Hospital

                      1976-1977                 Staff Physician, Emergency Department, St. Joseph’s Hospital

             Other Appointments:

                       2014-2020                President and CEO, Milwaukee Global Health Consortium, Milwaukee, WI

             Specialty Certification:

                      2000                      Board Re-certified, American Board of Emergency Medicine

                      1991                      Board Re-certified, American Board of Emergency Medicine
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 17 of 72 Page ID #1550
                                                                                                         -3-
                                                                              Stephen W. Hargarten, MD, MPH

             1987-2010                 Examiner, American Board of Emergency Medicine

             1987-2003                 Instructor, Advanced Trauma Life Support

             1983-2005                 Fellow, American College of Emergency Physicians

             1982                                                          Board Certified, American Board of Emergency
                                       Medicine

     Licensure:
             National Board of Medical Examiners - July 1976 - #154341
             State of Wisconsin - July 1976 - #20218

     Awards/Honors
             2019                      Distinguished Service Award, Medical College of Wisconsin

             2018                      Appointment to the Community Preventive Services Task Force (CPSTF)
                                       of the U.S. Department of Health and Human Services

             2017                      International Institute of Wisconsin’s Dorothy Von Briesen World Citizen
                                       Award in recognition of dedication to the promotion of international
                                       cooperation and understanding between diverse cultural communities

             2016                      The Leonard Tow 2016 Humanism in Medicine Award in recognition of
                                       exemplary compassion, competence and respect in the delivery of care
                                       (presented by The Arnold P. Gold Foundation)

             2015                      Distinguished Achievement Award, Milwaukee Academy of Medicine

             2012                      Outstanding Pathways Advisor for the 2012 Academic Year
                                       Medical College of Wisconsin

             2012                      Outstanding Medical Student Teacher for the 2011-2012 Academic Year
                                       Medical College of Wisconsin

             2011                      Election to the National Academy of Medicine, (Formally the Institute of Medicine) of
                                       The National Academy of Sciences

             2011                      Selected to be a Johns Hopkins Scholar

             2008                      Outstanding Medical Student Teacher for the 2007-2008 Academic Year
                                       Medical College of Wisconsin

             2000                      Prevention Achievement Award – presented by the Brain Injury
                                       Association of Wisconsin

             2000                      President’s Award, Milwaukee Academy of Medicine

             1996                      Contributions to the 1996 Healthy People 2000 Progress Review, and in
                                       recognition of leadership in the area of Violence Prevention, on behalf of the
                                       National Center for Injury Prevention and Control, Centers for Disease Control
                                       and Prevention, Washington, DC, November
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 18 of 72 Page ID #1551
                                                                                                             -4-
                                                                                Stephen W. Hargarten, MD, MPH
             1995                       Public Citizen of the Year, National Association of Social Workers - Wisconsin
                                        Chapter

             1994                       Physician of the Year State Medical Society – Wisconsin

             1990                       Rookie of the Year Award (presented by the Emergency Medicine Residents, Medical
                                        College of Wisconsin-MCWAH)


     Memberships in Professional and Honorary Societies:

             Society for Research Excellence
             Community Preventive Services Task Force (US Dept of Health & Human Services)
             The National Academy of Medicine (fka Institute of Medicine)
             Johns Hopkins Society of Scholars
             Society for Academic Emergency Medicine
             American Public Health Association
             Advocates for Highway and Auto Safety
             Wisconsin Public Health Association
             International Travel Medicine Society
             Society for Advancement of Violence and Injury Research

     Consultant:

             Florida Department of Health
             Colorado Department of Health

     Journal Reviewer:

             Academic Emergency Medicine
             Annals of Emergency Medicine
             Accident Analysis and Prevention
             American Journal of Emergency Medicine
             Journal of Global Health
             Journal of the American Medical Association
             Journal of Injury Prevention
             Chinese Journal of Emergency Medicine, Editorial Board


     Peer Grant Reviewer

              NCIPC - Elimination of Health Disparities through Translation Research (R18), 2008


     National Advisory Committees/Boards:

             Chair, Network to Prevent Gun Violence in the Americas, 2020-present

             Member, Global Violence Prevention Forum of the National Academies of Sciences, Engineering and
             Medicine, 2019-present

             Member, Community Preventive Services Task Force of the U.S. Department of Health and Human
             Services, 2018-present
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 19 of 72 Page ID #1552
                                                                                                   -5-
                                                                        Stephen W. Hargarten, MD, MPH
           Member, Executive Committee, Transportation Research Board of the National Academies of
           Sciences, Engineering and Medicine, 2018-present

           Member, Executive Committee, Transportation Research Board of the National Academies, 2018-
           present

           Member, Scientific Committee, Consortium of Universities for Global Health, 2013

           Special Government Employee, Board of Scientific Counselors, National Center for Injury
           Prevention and Control, 2013-2017

           Member, Institute of Medicine, Global Health Board, 2012-2018

           Member, Scientific Advisory Committee, University of Michigan Injury Center, 2011-present

           Board Member, Community Advocates, Urban Strategies, 2010-present

           Board Member, Great Lakes Transportation Enterprise Institute, 2010-2013

           Founding President, Society for Advancement of Violence and Injury Research, 2005-2007

           President, Association of Academic Chairs of Emergency Medicine, 2004-2005

           President, National Association of Injury Control Research Centers, 2004-2005

           Member, Advisory Committee, National Center of Injury Prevention and Control, Acute Care
           Research Committee, 2004-2005

           Board Member, St. Charles Youth and Family Services, 2001-present

           Participant, Injury Research Grant Review Committee, Centers for Disease Control and Prevention,
           National Center for Injury Prevention and Control, June 7-8, 1998

           Member, Senator Russ Feingold Health Care East Advisory Committee, 1999–2010

           Co-Chair, Advocates for Highway & Auto Safety, 1998 – 2002

           Public Health Task Force, Society for Academic Emergency Medicine 1998 - 2000

           Member, Education Advisory Committee, Association for the Advancement of Automotive Medicine, 1996 –
           1997

           Board Member, Advocates for Highway & Auto Safety, 1994– present

           Member, Public Health and Injury Prevention Committee - American College of Emergency Physicians,
           1991-1995

           Member, Program Committee, Society for Academic Emergency Medicine, 1993 - 1995

           Board Member, Association for Advancement of Automotive Medicine, 1992 - 1995

           Member, Public Health Committee - Society for Academic Emergency Medicine, 1990 - 1993

           Member, Trauma Subcommittee American College of Emergency Physicians, 1990 – 1991
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 20 of 72 Page ID #1553
                                                                                                             -6-
                                                                                  Stephen W. Hargarten, MD, MPH


     State/Local Advisory Committee/Boards:

              Faculty Member, Board of Trustees, Medical College of Wisconsin, 2014-2016

              Member, Committee on Inmate/Youth Death, Department of Corrections, 2005-2007

              Member, Public Health Council, Department of Health and Family Services, 2004-2006

              Task Force Member, Governors Task Force on Terrorism, 2001-2003

              Chair, State Trauma Advisory Committee, 1999-2003

              Chair, State Medical Society Council on Health of the Public, 1999-2000

              Eastern Regional Health Care Advisory Committee of Senator Feingold, 1998-2000

              Chair, Policies and Practice Work Group, Fighting Back, 1998

              Board Member, Fighting Back, 1997-2000

              Chair, State Medical Society Injury Control Commission, 1996 - 1999

              Chair, Public Health and Education Committee, Milwaukee Academy of Medicine, 1993 – 1999

              Tom Dooley Heritage - Board Member (Private, Voluntary Organization), 1981 - 1995

              Chairman, Safe Transportation Commission Wisconsin State Medical Society, 1990 - 1994

              Board Member, Wisconsin Division American Trauma Society, 1990 - 1993

              President, Wisconsin Public Health Association, 1992 - 1993

              Co-Chairman, Wisconsin Safety Belt Coalition, Madison, Wisconsin, 1986 - 1991

              Milwaukee County Medical Society Public Health Committee, 1989 - 1991

              Commissioner, Milwaukee Safety Commission, 1987 - 1990

              Medical Director, St. Luke's International Travel Clinic, 1985 - 1988

              Board Member/President, Wisconsin Indochina Refugee Relief (WICRR) – Wisconsin, 1980 - 1982

              Wisconsin Indochina Refugee Relief (WICRR) (Private, Voluntary non-profit organization), Volunteer Physicians -
              Tom Dooley Memorial Hospital Thailand, 1980

              Co-Founder, Board Member West of the River Community Center, Milwaukee, Wisconsin, 1977 – 1979

     Research Grants, Contracts, and Awards:

         1.   “Remembering the Lost: How Investigation of Military Suicides Can Improve Prevention Resources”
              AWARD FOR FISCAL YEARS 2020-22
              $316,576
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 21 of 72 Page ID #1554
                                                                                                         -7-
                                                                              Stephen W. Hargarten, MD, MPH
             PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: Advancing a Healthier Wisconsin Endowment

        2.   “Using Hospital Records of Patients Presenting to Froedtert Hospital to Predict Risk of Opioid Use Disorder (OUD),
             Fatal and Non-fatal Opioid Overdose, and ED Readmission”
             AWARD FOR FISCAL YEARS 2020-2021
             $50,000
             PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: Clinical and Translational Science Institute through Advancing a Healthier Wisconsin
             Endowment

        3.   “Project Zero”
             AWARD FOR FISCAL YEARS 2021-2023
             $316,760
             PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: Advancing a Healthier Wisconsin Endowment

        4.   “Project Aware”
             AWARD FOR FISCAL YEARS 2019-2024
             $300,000
             PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: (Sub-contract) State of Wisconsin Department of Health Services

        5.   “WVDRS and SUDORS Contract”
             AWARD FOR FISCAL YEARS 2019-2020
             $170,440
             PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: (Sub-contract) State of Wisconsin Department of Health Services

        6.   FY20 DOC Contract
             AWARD FOR FISCAL YEARS 2019-2020
             $99,874
             PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: Wisconsin Department of Corrections

        7.   “Destination Zero: Zero Suicide in Fond du Lac County”
             AWARD FOR FISCAL YEARS 2018-2020
             $419,691
             PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: Healthier Wisconsin Partnership Program

        8.   “MCW Blue Center Research Award”
             INITIAL AWARD FOR FISCAL YEARS: 2017-2020
             $600,000
             PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: Medical College of Wisconsin, Office of Research

        9.   “Scudder Travel Scholarship”
             AWARD FOR FISCAL YEARS: 2017-2021
             $15,000
             PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: Dr. James H. Taylor and Dr. Susan P. Taylor

        10. “Dr. Elaine Kohler Summer Academy in Global Health Research and Electives”
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 22 of 72 Page ID #1555
                                                                                                         -8-
                                                                              Stephen W. Hargarten, MD, MPH
            AWARD FOR FISCAL YEARS: 2017-2021
            TOTAL AWARD: $250,000
            PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: John Michael Kohler Family Foundation

        11. “The Cardiff Model: Strengthening Community Capacity to Reduce Violence:
            AWARD FOR FISCAL YEARS 2016-2018
            $499,693
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: US Department of Justice

        12. “Developing a Community-Based Approach to Reduce Drug Overdoses in Milwaukee County”
            AWARD FOR FISCAL YEAR 2016
            TOTAL AWARD $25,000
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Milwaukee County

        13. “Addressing Racial Disparities in the Ascertainment and Identification of Depression,
            Suicidal Ideation, and Death by Suicide”
            AWARD FOR FISCAL YEARS 2016-2017
            TOTAL AWARD $37,347
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Charles E. Kubly Foundation

        14. “Creating a Jackson County that Supports Mental Health”
            AWARD FOR FISCAL YEARS 2015-2017
            TOTAL AWARD: $374,504
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Healthier Wisconsin Partnership Program

        15. “Wisconsin Violent Death Reporting System” (WVDRS)
            AWARD FOR FISCAL YEAR 2015
            AWARD: $69,773
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: (Sub-Contract) State of Wisconsin, Department of Health Services

        16. “Integrating Emergency Data with Law Enforcement, Emergency Medical Service and
             Community Data to Reduce Violence”
            AWARD FOR FISCAL YEAR 2015
            PRINCIPAL INVESTIGATORS: Stephen Hargarten, MD, MPH and Jennifer Hernandez-Meier, MSW
            FUNDING AGENCY: National Institute of Justice

        17. “Criminal Background Characteristics of Homicide Perpetrators and Victim’s and
             Suicide Decedents: A Model State Analysis”
            AWARD FOR FISCAL YEARS 2014-2016
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: New Venture Fund for a Safer Future

        18. “Training Administration Support”
            AWARD FOR FISCAL YEARS 2012-present
            TOTAL AWARD: $6,200
            PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Varies
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 23 of 72 Page ID #1556
                                                                                                         -9-
                                                                              Stephen W. Hargarten, MD, MPH
        19. “M4 University of the Philippines College of Medicine Global Health Elective”
            AWARD FOR FISCAL YEARS: 2012-2013
            TOTAL AWARD: $1,000
            PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: David E. Engelhardt, MD

        20. “Changing the Culture of Risky Drinking Behavior: Policy Change”
            AWARD FOR FISCAL YEARS: 2012-2017
            TOTAL AWARD: $748,267
            PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Healthier Wisconsin Partnership Program

        21. “Child Maltreatment and Partner Violence: Bridging the Medical/Social/Science Gap”
            AWARD FOR FISCAL YEAR 2011-2012
            TOTAL AWARD $7,142
            FUNDING AGENCY: NICHHD/Sub-contract from Washington University-St. Louis

        22. “M4 Global Health Elective Travel Scholarship”
            AWARD FOR FISCAL YEARS: 2011-2017
            TOTAL AWARD: $70,000
            PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: St. Joseph’s Hospital Professional Emergency Services, Inc. (PES) Fund Award

        23. “M4 Global Health Elective Travel Scholarship”
            AWARD FOR FISCAL YEARS: 2011-2017
            TOTAL AWARD: $70,000
            PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Ewens WIcare Fund

        24. “Dr. Elaine Kohler Summer Academy in Global Health Research and Electives”
            AWARD FOR FISCAL YEARS: 2011-2016
            TOTAL AWARD: $255,000
            PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: John M. Kohler Foundation

        25. “Violence Prevention Initiative Research and Evaluation Team”
            AWARD FOR FISCAL YEARS: 2010-2015
            TOTAL AWARD: $1,241,473
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Healthier Wisconsin Partnership Program

        26. “Strengthening Emergency Care in Belize”
            AWARD FOR FISCAL YEARS: 2010-2012
            TOTAL AWARD: $21,360
            PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Wagner Foundation

        27. Changing the Culture of Risky Drinking Behavior”
            AWARD FOR FISCAL YEARS: 2009-2012
            TOTAL AWARD: $300,000
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Healthier Wisconsin Partnership Program

        28. “Elaine Kohler Nicaragua Award”
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 24 of 72 Page ID #1557
                                                                                                      - 10 -
                                                                            Stephen W. Hargarten, MD, MPH
            AWARD FOR FISCAL YEARS: 2008-2016
            TOTAL AWARD: $5,000
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Julilly Kohler WI Care

        29. “Kenosha County Suicide Prevention Initiative”
            AWARD FOR FISCAL YEARS: 2008-2011
            TOTAL AWARD: $450,000
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Healthier Wisconsin Partnership Program

        30. “Train the Trainer Alcohol Screening and Intervention”
            AWARD FOR PERIOD: June-September 2008
            TOTAL AWARD $20,000
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Wisconsin Department of Transportation

        31. “Comprehensive Injury Center at the Medical College of Wisconsin”
            AWARD FOR FISCAL YEARS: 2007-2012
            TOTAL AWARD: $4,424,025
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Centers for Disease Control and Prevention

        32. “Public Health Injury Surveillance and Program Development”
            AWARD FOR FISCAL YEAR: 2007-2008
            TOTAL AWARD: $106,034
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Injury Prevention Program, Wisconsin Dept of Health and Family Services

        33. “Changing the Culture of Risky Drinking Behavior”
            AWARD FOR FISCAL YEARS: 2007-2008
            TOTAL AWARD: $49,944
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Healthier Wisconsin Partnership Program

        34. “Medical Student Training in Aging and Injury Research”
            AWARD FPR FOSCA: UEARS: 2007-2012
            TOTAL AWARD: $391,068
            CO-PROGRAM DIRECTOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: National Institutes of Health/National Institute on Aging

        35. “Public Health Injury Surveillance and Program Development”
            AWARD FOR FISCAL YEAR: 2006-2007
            TOTAL AWARD: $68,870
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Injury Prevention Program, Wisconsin Dept of Health and Family Services

        36. “Strengthening Public Health Policymaking for a Healthier Milwaukee”
            AWARD FOR FISCAL YEARS: 2006-2008
            TOTAL AWARD: $49,816
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Healthier Wisconsin Partnership Program

        37. “Youth Suicide Prevention and Early Intervention”
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 25 of 72 Page ID #1558
                                                                                                       - 11 -
                                                                             Stephen W. Hargarten, MD, MPH
            AWARD FOR FISCAL YEARS: 2006-2009
            TOTAL AWARD: $100,000
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Milwaukee Mental Health Association via Substance Abuse and Mental Health Services
            Administration

        38. “Public Health Injury Surveillance and Program Development”
            AWARD FOR FISCAL YEAR: 2005-2006
            TOTAL AWARD: $93,228
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Injury Prevention Program, Wisconsin Dept of Health and Family Services

        39. “Toward Regional Priorities for Injury Prevention”
            AWARD FOR FISCAL YEAR: 2003
            TOTAL AWARD: $22,727
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Wisconsin Department of Health and Family Services

        40. “Deaths to US Travelers Abroad”
            AWARD FOR FISCAL YEAR: 2002
            TOTAL AWARD: $50,000
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Center for Disease Control and Prevention

        41. “Annie E. Casey Foundation”
            AWARD FOR FISCAL YEAR: 2002
            TOTAL AWARD: $68,181
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Annie E. Casey Foundation

        42. “Comprehensive Injury Center at the Medical College of Wisconsin”
            AWARD FOR FISCAL YEARS: 2001-2007
            TOTAL AWARD: $5,180,275
            PRIMARY INVESTIGATOR: Stephen W. Hargarten MD, MPH
            FUNDING AGENCY: Centers for Disease Control and Prevention

        43. “Grants for Injury Control Research Centers – Small Project 4”
            AWARD FOR FISCAL YEARS: 2001-2004
            TOTAL AWARD: $ 66,672
            CO-INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Centers for Disease Control and Prevention

        44. “Grants for Injury Control Research Centers – Large Project 4”
            AWARD FOR FISCAL YEARS: 2001-2006
            TOTAL AWARD: $ 204,000
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Centers for Disease Control and Prevention

        45. “Grants for Injury Control Research Centers – Large Project 3”
            AWARD FOR FISCAL YEARS: 2001-2006
            TOTAL AWARD: $100,000
            CO-INVESTIGATOR (IN KIND): Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Centers for Disease Control and Prevention
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 26 of 72 Page ID #1559
                                                                                                        - 12 -
                                                                              Stephen W. Hargarten, MD, MPH
        46. “Grants for Injury Control Research Centers – Core A”
            AWARD FOR FISCAL YEARS: 2001-2006
            TOTAL AWARD: $ 137,380
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Centers for Disease Control and Prevention

        47. “2nd Annual Emerging Injury Conference: International Travel Related Injury”
            AWARD FOR FISCAL YEARS: 2001-2002
            TOTAL AWARD: $ 50,000
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Centers for Disease Control and Prevention

        48. “NVDRS – Intentional Injuries and Assaults”
            AWARD FOR FISCAL YEARS: 2001-2002
            TOTAL AWARD: $ 75,774
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Wisconsin Office of Justice Assistance

        49. “Improving Patient Safety: Health Systems Reporting, Analysis, and Safety Improvement Research
            Demonstrations”
            AWARD FOR FISCAL YEARS: 2001-2004
            TOTAL AWARD: $1,418,594
            CO-PI: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Agency for Healthcare Research and Quality

        50. “International Injuries and Assaults”
            AWARD FOR FISCAL YEARS: 2001-2002
            TOTAL AWARD: $ 68,196
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: State of Wisconsin

        51. “Building a National Firearm Injury Reporting System”
            AWARDED FOR FISCAL YEARS: 2000 - 2001
            TOTAL AWARD: $50,000
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Funder’s Collaborative for Gun Violence Prevention by Harvard School of Public Health
            National Violent Injury Statistics System (NVISS)

        52. “Preventing Firearm Suicides and Unintentional Deaths”
            AWARD FOR FISCAL YEARS: 2000-2001
            TOTAL AWARD: $60,000
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Funder’s Collaborative for Gun Violence Prevention by Johns Hopkins Center for Gun Policy
            & Research

        53. “A Comprehensive Model for Firearm Injury Reporting, Analysis and Information” – Joyce 5
            AWARD FOR FISCAL YEARS: 1999-2002
            TOTAL AWARD: $771,924
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Joyce Foundation

        54. “Closing the Gap: Applying Injury Control Science to Patient Safety”
            AWARD FOR FISCAL YEARS: 1999-2000
            TOTAL AWARD: $24,316 and $30,000
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 27 of 72 Page ID #1560
                                                                                                      - 13 -
                                                                            Stephen W. Hargarten, MD, MPH
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Centers for Disease Control and Prevention

        55. “In the Wake of a Gunshot”
            AWARD FOR FISCAL YEARS: 1999-2000
            TOTAL AWARD: $10,000
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Wisconsin Humanities Council and the National Endowment for the
            Humanities

        56. “Strategic Development of State Firearm Injury Reporting Systems”
            AWARD FOR FISCAL YEARS: 1999-2000
            TOTAL AWARD: $116,911
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Open Society Institute

        57. “Wisconsin Firearm Injury Reporting Systems (FIRS) – Joyce 4
            AWARD FOR FISCAL YEARS: 1998-1999
            TOTAL AWARD: $95,912
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Joyce Foundation

        58. “Wisconsin Drug Abuse Emergency Room Registry”
            AWARD FOR FISCAL YEARS: 1998-1999
            TOTAL AWARD: $1500
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: State of Wisconsin, Dept. of Health & Family Services

        59. “National Firearm Information Center” – Joyce 3
            AWARD FOR FISCAL YEARS: 1997-2000
            TOTAL AWARD: $391,581
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Joyce Foundation

        60. “Firearm Injury Reporting System” – Joyce II
            AWARD FOR FISCAL YEARS: 1996-1998
            TOTAL AWARD: $194,538
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Joyce Foundation

        61. “Brief Strategies for Alcohol-Related Non-traffic Injuries”
            AWARD FOR FISCAL YEAR: 1996
            TOTAL AWARD: $10,904
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: University of Wisconsin – Madison

        62. “Firearm Surveillance System - Wisconsin”
            AWARD FOR FISCAL YEAR: 1994-1997
            TOTAL AWARD: $150,000
            CO-DIRECTOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Division of Health, State of Wisconsin

        63. “Firearm Injury Reporting System”
            AWARD FOR FISCAL YEAR: 1994-95
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 28 of 72 Page ID #1561
                                                                                                    - 14 -
                                                                          Stephen W. Hargarten, MD, MPH
            TOTAL AWARD: $50,000
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Faye McBeath Foundation

        64. "Firearm Injury Reporting System" – Joyce II
            AWARD FOR FISCAL YEAR: 1994-95
            TOTAL AWARD: $79,997
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Joyce Foundation

        65. "Emergency Room Drug Abuse Data"
            AWARD FOR FISCAL YEARS: 1992 - 2000
            TOTAL AWARD: $5,000/yr.
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: State of Wisconsin

        66. "Crash Outcome Data Evaluation (CODES) in Wisconsin"
            AWARD FOR FISCAL YEAR: 1992-1993
            TOTAL AWARD: $15,000
            CO-INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: National Highway Traffic Safety Administration

        67. "Partnerships in Health/EMS Training for Poland"
            AWARD FOR FISCAL YEARS: 1992-1994
            TOTAL AWARD: $2.4 million
            ASSOCIATE DIRECTOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: United States Agency for International Development

        68. “Emergency Medical Services Course for Physicians"
            AWARD FOR FISCAL YEAR: 1992
            TOTAL AWARD: $29,789.00
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Wisconsin Department of Transportation

        69. "Motorboat Propeller Injuries in Wisconsin 1987-1989"
            AWARD FOR FISCAL YEAR: 1991
            TOTAL AWARD: $2,000.00
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Institute for Injury Reduction

        70. "Electronic Log System for Emergency Department"
            AWARD FOR FISCAL YEAR: 1990
            TOTAL AWARD: $40,356.00
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Wisconsin Department of Transportation

        71. "Cost & Data Analysis of Motor Vehicle Trauma in Milwaukee County"
            AWARD FOR FISCAL YEAR: 1990
            TOTAL AWARD: $3,417.00.
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Wisconsin Department of Transportation

        72. "Hunting Injuries and Illnesses in Montana 1990"
            AWARD FOR FISCAL YEAR: 1990
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 29 of 72 Page ID #1562
                                                                                                         - 15 -
                                                                               Stephen W. Hargarten, MD, MPH
             TOTAL AWARD: $2,500.00
             PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: Wilderness Medical Society

        73. "Motor Vehicle Crashes - Emergency Physician Costs"
            AWARD FOR FISCAL YEAR: 1990
            TOTAL AWARD: $6,000.00
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Wisconsin Safety Belt Coalition


     Invited Lectures/Testimony:

        1.   “Gun Violence as a Biopsychosocial Disease,” Midwest Injury Prevention Alliance Virtual Summit, December 9,
             2020.

        2.   “Global Health from Neighborhoods to Nations”, Milwaukee Academy of Medicine, Virtual Webinar, November 17,
             2020.

        3.   “Impact of COVID-19 on the University’s Global Health Programming,” 7th Annual Midwestern Universities for
             Global Health, Virtual Webinar, September 30.

        4.   “Gun Violence in the Americas: Local Solutions to a Hemispheric Challenge,” Consortium of Universities for Global
             Health, Virtual Webinar, July 16, 2020.

        5.   “Assault Weapons Ban in the Americas,” Newtown Action Alliance, Virtual Webinar, July 9, 2020.

        6.   “Gun Violence in Mexico and Central America,” Consortium of Universities for Global Health, Virtual Webinar, April
             21, 2020.

        7.   “The Milwaukee Global Health Landscape Study,” Milwaukee Global Health Consortium, Virtual Webinar, April 13,
             2020.

        8.   “Gun Violence in the Americas Focus: Mexico,” Consortium of Universities for Global Health, Virtual Webinar,
             March 24, 2020.

        9.   “Physician Advocacy,” Medical College of Wisconsin Health Policy and Advocacy Course, Milwaukee, WI, March
             23, 2020.

        10. “Understanding the Biopsychosocial Aspects of Violence Involving Firearms,” American Hospital Association
            Webinar Series on Gun Violence, Virtual Presentation, February 19, 2020.

        11. “Gun Violence: A Biopsychosocial Disease,” 2020 Comprehensive Injury Center Lecture Series, Medical College of
            Wisconsin, Milwaukee, WI, January 23, 2020.

        12. Assembly Health Committee Public Hearing (Military Civilian Partnership + Cancer Clinical Trials Legislation),
            Madison, WI, January 7, 2020.

        13. “Global Burden of Gun Violence,” University of Wisconsin Population Health Seminar Series, University of
            Wisconsin, Madison, WI, December 2, 2019.

        14. “Gun Violence: A Biopsychosocial Disease,” Department of Medicine Grand Rounds, Medical College of
            Wisconsin, Milwaukee, WI, September 27, 2019.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 30 of 72 Page ID #1563
                                                                                                          - 16 -
                                                                              Stephen W. Hargarten, MD, MPH
        15. “Suicide in Wisconsin: Considerations for Prevention,” Wisconsin State Legislature’s Suicide Prevention Task
            Force Testimony, Milwaukee, WI, September 9, 2019.

        16. “Gun Violence: A Biopsychosocial Disease,” Department Conference, Department of Emergency Medicine,
            Medical College of Wisconsin, Milwaukee, WI, August 8, 2019.

        17. “Road Traffic Injury Prevention and Violence Injury Prevention,” International Congress on Emergency Medicine
            Meeting, Seoul, South Korea, June 12, 2019.

        18. “Gun Violence Prevention: Dispelling Myths, Understanding Science, Strengthening Prevention, Programs, and
            Policies,” Community Conversations, La Crosse, WI, April 24, 2019.

        19. “Gun Violence: A Biopsychosocial Disease,” Toward One Wisconsin Inclusivity Conference, Milwaukee, WI, April
            11, 2019.

        20. “Motor Vehicle Crash Deaths and Injury – Moving to Zero,” Wisconsin Medical Society Physician Education
            Conference, Madison, WI, April 6, 2019.

        21. “Gun Violence: A Biopsychosocial Disease,” Wisconsin Medical Society Physician Education Conference,
            Madison, WI, April 6, 2019.

        22. “Injury as a Biopsychosocial Disease,” Wisconsin Violence and Injury Prevention Program Summit, Madison, WI,
            April 4, 2019.

        23. “Gun Violence: A Biopsychosocial Disease,” Society for the Advancement of Violence and Injury Research
            Conference, Cincinnati, OH, April 2, 2019.

        24. “Gun Violence: A Complex Biopsychosocial Disease,” Grand Rounds, University of Wisconsin School of Medicine
            and Public Health, Madison, WI, February 21, 2019.

        25. “Why Do Health Systems Have A Role?” NASEM: Health Systems Interventions to Prevent Firearm Injuries &
            Death – A Workshop, Washington DC, October 17, 2018

        26. “Vision Zero – Emphasis on Public Health” Transportation Research Board Transportation Safety Management
            Mid-Year Meeting, Washington DC, July 30, 2018

        27. “Gun Violence: A Biopsychosocial Disease: Myths, Science & Prevention”, 2018 Preventive Medicine Annual
            Meeting, American College of Preventive Medicine, Chicago, ILL, May 24, 2018

        28. “International Challenges and Higher Education”, 39th Annual National Conference on Law & Higher Education.
            Stetson University College of Law, Clearwater, FL, February 3, 2018

        29. “Faculty promotion for global health” 4th Annual Midwest Universities for Global Health Meeting: Capacity Building
            in Global Health at Washington University Medical School, December 1, 2017.

        30. “Gun Violence: A Biopsychosocial Disease: Physician Roles and Responsibilities”, Grand Rounds, University of
            Michigan Emergency Medicine Residency Conference, Ann Arbor, MI, November 8, 2017.

        31. “International Partnerships: Global Wisdom, Global Citizens” American Association of Medical Colleges, Boston,
            MA, November 5, 2017.

        32. “Legal Characteristics of Emergency Medicine” Belize Medical and Dental Association XXXVI Congress, Belize
            City, Belize, October 17, 2017.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 31 of 72 Page ID #1564
                                                                                                           - 17 -
                                                                              Stephen W. Hargarten, MD, MPH
        33. “Global Health Challenges: The Burden of Injury” University of Norte Dame Eck Institute for Global Health, Norte
            Dame, IN September 28, 2017.

        34. “Gun Violence: Myths, Science, Opportunities”, Underground Science Society, The Sugar Maple,
                           i. Milwaukee, WI, September 11, 2017.

        35. “Gun Violence as a Biopsychosocial Disease Burden: Our Roles and Responsibilities” for The Violence Epidemic:
            Justice, Public Health and Ethics, Center for Bioethics and Medical Humanities, Medical College of Wisconsin,
            Milwaukee, WI, June 13, 2017.

        36. “Global Burden of Road Traffic Injury: Opportunities and Strategies for Prevention and Control: Roles of Civil
            Society” Consortium of Universities for Global Health, Washington DC, April 8, 2017.

        37. “Gun Violence: A Biosocial Disease” Keynote for Wisconsin Chapter of American College of Emergency
            Physician’s 2017 Spring Symposium, Madison, WI, March 28, 2017.

        38. “Global Burden of Injury” Hainan Medical University, Hainan, China, March 15, 2017.

        39. “MCW’s Impact on the World: From Milwaukee, Wisconsin to Around the Globe”, MCW/Marquette Medical
            Alumni Association 51st Clinical Conference, Sonoma, CA, March 7, 2016.

        40. “Global Health and Medical Education: The Ethics of Short-term International Electives” Advancing Global
            Health: Ethical and Logistical Issues, Bronx, NY, December 5, 2016.

        41. “Global Emergencies” Belize Medical and Dental Association XXXV Congress, Belize City, Belize,
            November 17, 2016

        42. “Shoot to Kill: Shooting Trends Across the Nation” Panel at Marquette University, Milwaukee, WI,
                             i. October 14, 2016.

        43. “Gun Violence: A Biosocial Disease”, Sanford Trauma Symposium, South Dakota Department of Health, Sioux
            Falls, SD, October 11, 2016.

        44. “Global Health from a Milwaukee Perspective” Marquette University Global Health Symposium, Milwaukee,
            September 30, 2016

        45. “Study Abroad Student Safety”, Wisconsin Association of Independent Colleges and Universities Student Safety
            Workshop, Milwaukee, September 28, 2016

        46. “Global Health Challenges”, Notre Dame University, Notre Dame, IN, September 1, 2016

        47. "Beyond the Basics of Health, Safety, Security and Risk Management", Keynote Speaker for The Forum on
            Education Abroad Standards of Good Practice Institute, Northwestern University, Evanston, IL, June 23, 2016.


        48. “Global Burden of Injury” University College of Dublin, Dublin, Ireland, June 8, 2016

        49. “Global Health: The Ultimate Sustainable Challenge”, Sustainability Summit, Milwaukee, May 13, 2016

        50. “Medical Student Perspectives on Global Health” MCW Today, Tomorrow, and Beyond Symposium Alumni
            Weekend, Milwaukee, April 30, 2016

        51. “Gun Violence: A Biosocial Disease” for Medical College of Wisconsin Nursing Trauma Conference, Milwaukee,
            WI, April 23, 2016.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 32 of 72 Page ID #1565
                                                                                                         - 18 -
                                                                               Stephen W. Hargarten, MD, MPH

        52. “Gun Violence: A Biosocial Disease”, Keynote Speaker for Gun Violence: A Public Health Symposium, Washington
            University – Institute for Public Health, St. Louis, MO, April 5, 2016.

        53. “How Violence Impacts Public Health”, Panel Participant for University of Wisconsin-Zilber School of Public Health,
            Milwaukee, WI, February 25, 2016.

        54. “Programs and Policy: Addressing a Global Need for Surgery and Emergency Care” and “Global Burden of Injury”,
            Global Health Conference Midwest, Creighton University, Omaha, NE, February 6, 2016.

        55. “Inequality and Freedom from Violence: Community violence has identifiable causes and implementable cures”
            University of Wisconsin-Milwaukee Fireside Forum, Milwaukee, WI, February 2, 2016

        56. “Global Health: Managing Health & Safety”, 2nd Annual Midwestern Universities for Global Health, Rush
            University, Chicago, IL, December 2, 2015

        57. “Global Burden of Injury” Visiting Professor, Notre Dame, Notre Dame, IN, October 15, 2015

        58. “Global Burden of Injury” Visiting Professor, University of Wisconsin, Madison, WI, October 12, 2015

        59. “Challenges and Opportunities in Academic Medicine: Collaborating for Global Health” Visiting Professor,
            Universidad Católica de Guayaquil, Guayaquil, Ecuador, May 6, 2015

        60. “Disaster Preparedness & Response: An All Hazard Approach” Consortium of Universities for Global Health Annual
            Meeting, Boston, MA, March 26, 2015

        61. “Injury Science and Geriatrics: Coming of Age Together”, Visiting Professor, Weill Cornell Medical College, Division
            of Geriatrics & Palliative Medicine Grand Rounds, New York, NY, February 12, 2015

        62. “Emergency Medicine and Injury Prevention and Control: A Room with a View”, Visiting Professor, Weill Cornell
            Medical College, Divisions of Emergency Medicine and Geriatrics & Palliative Medicine Grand Rounds, New York,
            NY, February 11, 201.5

        63. “Firearm Injuries”, Community Memorial Hospital Medical Staff Education Program, Menomonee Falls, WI,
            January 16, 2015.

        64. “Firearm Injuries”, Institute of Medicine Forum on Violence, Washington, DC, December 17, 2014

        65. “Global Health Managing Traveler Safety” Midwest Universities for Global Health Inaugural Meeting,
            University of Illinois at Chicago Center for Global Health, December 3, 2014

        66. “Global Health and Medical Education: The Ethics of Short-term International Electives” Advancing Global
            Health: Education, Building, and Support, Albert Einstein College of Medicine, Bronx, New York, November
            10, 2014

        67. “Strengthening Emergency Care in Belize” 33rd Belize Medical and Dental Association International
            Congress, Belize City, Belize, October 31, 2014

        68. “Triage Use and Implementation” 33rd Belize Medical and Dental Association International Congress, Belize
            City, Belize, October 31, 2014

        69. “The Science of Injury Prevention and Control” University of Zagreb School of Medicine, Zagreb, Croatia,
            September 9, 2014
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 33 of 72 Page ID #1566
                                                                                                         - 19 -
                                                                            Stephen W. Hargarten, MD, MPH
        70. “Challenges and Opportunities in Academic Medicine: Collaborating for Global Health”, University of
            Rzeszow Jubilee of Medical Faculty, Rzeszow, Poland, September 5, 2014

        71. "Burden of Global Violence/Injury” for the 2014 World Affairs Seminar, Carroll University, Waukesha,
            Wisconsin, June 23, 2014

        72. “ Practical advice for implementing useful global health curricula and effective academic programs” USAID
            The Future of Global Health: Building Better Professionals & Programs, Washington DC, May 9, 2014


        73. “Global Health and Partnerships” Shanghai Minhang Central Hospital, Shanghai, China, April 25, 2014




        74. “Organizing Injury prevention and control programs" 2014 China- US-Japan Summit Forum of Emergency
            Medicine, Xinhua Hospital, Shanghai, China, April 25, 2014

        75. “Technical Consultation for United Nations Office for Disarmament Affairs”, Research and Information Gathering
            Participant, UN Headquarters, New York, NY, November 19, 2013.

        76. “Gun Violence as a Public Health Issue”, Tuesday Speaker for Milwaukee Rotary Club, War Memorial, Milwaukee,
            WI, October 29, 2013

        77. “Transportation Safety and Injury Prevention,“ Keynote Speaker for Midwest Conference of Institute of
            Transportation Engineers, Pfister Hotel, Milwaukee, WI, June 27, 2013.

        78. “Patient Safety or Injury Control: Two Worlds or One?”, Patient Safety Summit, Johns Hopkins, Baltimore, MD,
            June 21, 2013

        79. “Gun-Related Violence”, Guest Speaker for Milwaukee Forum, Haggerty Museum, Milwaukee, WI, January 17,
            2013.

        80. “Gun Policy Summit”. Expert Panel Participant, Johns Hopkins University, Baltimore, MD, January 14-15, 2013.


        81. “Emergency Medicine: Going Global”, Guest Speaker for Klippel Lecture, Washington University School of
            Medicine, St. Louis, MO, December 4, 2012.

        82. “Global Burden of Injury”, Introduction to Public Health: Global Health, Carroll University, Waukesha, WI,
            November 30, 2012, April 20, 2012, November 11, 2011

        83. “Gun Violence: The Strengths and Limits of the Disease Model”, Guns in America: Conflicting Points of View,
            University of Wisconsin, Madison, WI, November 1, 2012.

        84. “Increasing Utilization of NVDRS Data”, National Violent Death Reporting System Reverse Site Visit, Atlanta, GA,
            September 13, 2011.

        85. “Researching Car Crashes and Gun Shot Wounds: Products, Problems, Policies,“ and “Opportunities in Injury
            Research: Getting Started and Connecting the Dots”, Visiting Lecturer for the University of Alberta, Canada, June,
            2011.

        86. “Congressional Briefing”. Expert Testimony, Association for Safe International Road Travel and the U.S.
            Congressional Caucus on Global Road Safety , United Nations Decade of Action for Road Safety 2011-2020 United
            Nations, Washington, DC, May 11, 2011.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 34 of 72 Page ID #1567
                                                                                                         - 20 -
                                                                               Stephen W. Hargarten, MD, MPH

        87. “The Team Approach to Caring for Acutely Injured Patients”, Jao Tong University, Xinhua Hospital, Shanghai,
            China, November 9, 2010.

        88. “Trauma Evaluation and Management, TEAM” for 29th Belize Medical and Dental Association International Pre-
            Congress, Belize City, Belize, October 20, 2010.

        89. “The Emergency Department and Systems Approach to Emergency Medicine” for 29 th Belize Medical and Dental
            Association International Pre-Congress, Belize City, Belize, October 19, 2010.

        90. “The Public Health Approach to Violence Prevention in Health Care Settings” for International Association for
            Healthcare Security and Safety Conference, Baltimore, MD, June 22, 2009.

        91. “Epidemiology of Travel-Related Injury & Death” for 11th Conference of the International Society of Travel Medicine,
            Budapest, Hungary, May 26, 2009.

        92. “Reducing Firearm Injuries and Death: A Public Health Approach” for Trauma Conference, Kent State University,
            Canton, OH, November 7, 2008.

        93. “Guns and Cars: A Tale of Product Design Flaws Linked with Death & Injury” for Trauma Conference Kent State
            University, Canton, OH, November 7, 2008.

        94. “Gun Violence” for Grand Rounds, Mount Sinai Hospital, Milwaukee, WI, October 17, 2008.

        95. “Town Hall Meeting – Status of Impaired Driving in Wisconsin” for MADD, NHTSA, DOT in Middleton, WI, August
            14, 2008.

        96. “Guns and Cars: Stories for preventing car and gun related deaths” for Grand Rounds, Columbia-St. Mary’s,
            Milwaukee, WI, June 13, 2008.

        97. “Panel on Urban Studies Programs” for 2nd Annual Henry W. Maier State of Milwaukee Summit, Milwaukee, WI,
            April 30, 2008.

        98. “The Public Health Approach to Reduce Alcohol Related Injury and Death” Noon Conference for
            Gundersen Lutheran Trauma & Emergency Center, LaCrosse, WI, November 1, 2007

        99. “From the Bedside to the Community and Beyond: The Physician’s Role in Injury Prevention and Control”, Grand
            Rounds, Philadelphia, PA, October 23, 2007.

        100.“Public Health Approach to Reducing the Burden of Suicide” Grand Rounds for Psychiatry, St. Joseph’s Outpatient
            Conference Center, Milwaukee, WI, June 20, 2007.

        101.“Violence is a Disease”, 2007 Global Health and Social Justice Conference, University of Wisconsin-Milwaukee
            College of Nursing, Milwaukee, WI, March 29, 2007.

        102.“Burden of Injury in Wisconsin: Spelling It Out”, Injury Summit, Holiday Inn, Neenah, WI, October 25, 2006.

        103.“Injury Policy Forum”, EMSC Policy Forum, Monona Terrace, Madison, WI, March 21, 2006.

        104.“To Be or Not to Be: Case Studies in Injury Control and Advocacy”, Seminar on Gun Violence, University of
            Wisconsin, Population Health Institute, Madison, WI, December, 2005.

        105.“Emergency Medicine Leadership”, Yale University, Section of Emergency Medicine, April 2005
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 35 of 72 Page ID #1568
                                                                                                    - 21 -
                                                                          Stephen W. Hargarten, MD, MPH
        106.“Emergency Medicine Leadership,” Brown University, Department of Emergency Medicine, March 2005

        107.“Emergency Medicine Leadership”, University of Alabama-Birmingham, Department of Emergency Medicine,
            November 2002

        108.“Medical Examiner and Coroner Data for Public Health: A Model Linked System”, Institute of Medicine Workshop
            on the Medicolegal Death Investigation System, Washington, DC, March 23-25, 2003.

        109.“The National Violent Death Reporting System: It’s About Time We’re Connecting-the-Dots for Injury Prevention”,
            University of North Carolina Injury Prevention Research Center Seminar, Chapel Hill, NC, March 17-19, 2003.


        110.“Emergency Medicine Leadership in the 21st Century: Guns and Cars, Acute Care, and Injury Prevention”,
            University of North Carolina Injury Prevention Research Center Seminar, Chapel Hill, NC, March 17-19, 2003.


        111.“Medical Injury”, Grand Rounds at the University of Western Ontario, Ontario, Canada, January 24, 2003.

        112.“Planning for a State Violent Death Reporting System”, National Violent Death Reporting System Implementation
            Training, Atlanta, Georgia, January 16-17, 2003.

        113.“Advocacy in Emergency Medicine”, Grand Rounds at the University of Alabama Birmingham, Birmingham, A.,
            November 20, 2002.

        114.“Causes of Gun Crime”, American Society of Criminology Conference, Chicago, IL, November 12, 2002.

        115.“Nonfatal Gun Injuries – What We Know, Don’t Know and Need to Know”, The 7 th HELP Network Conference,
            Chicago, IL, October 27, 2002.

        116.“Youths and Guns”, Gun Violence Workshop, The National Academies National Research Council Institute of
            Medicine, Washington, D.C., September 16, 2002.

        117.“Injury Prevention: Creating an Agenda for Action”, Springfield, Illinois, July 31, 2002.

        118.“The Public Health Approach to reducing firearm related deaths”, Coalition Against Gun Violence, Cleveland, Ohio,
            June 6, 2002.

        119.“The Physician Scientist as Advocate”, The Spivey Lecture, Society for Academic Emergency Medicine Annual
            Meeting, St. Louis, MO, May 16, 2002.

        120.“Firearm suicides: A two-state comparison”, 6th World Conference on Injury Prevention and Control, Montreal,
            Quebec, Canada, May 12-15, 2002.

        121.“Travel related injury prevention for students”, NAFSA Conference, University of Wisconsin Milwaukee, Milwaukee,
            WI, April 18, 2002.

        122.“Suicide among Wisconsin farmers”, American Association of Suicidology, 35th Annual Conference, Bethesda, MD,
            April 10-13, 2002.

        123.“The relationship between health providers and law enforcement: Information sharing and lessons learned in the
            Firearm Injury Reporting System”, 30th Annual Conference on Value Inquiry – Values in Health Care: Past, Present
            and Future, Milwaukee, WI, April 4-6, 2002.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 36 of 72 Page ID #1569
                                                                                                       - 22 -
                                                                             Stephen W. Hargarten, MD, MPH
        124.“The Public Health Approach to Reducing Firearm Injuries”, 13th Annual Trauma Symposium for Coastal Area
            Health Education Center, Wilmington, NC, February 9, 2002.

        125.“Emergency Medicine and Advocacy”, Department of Emergency Medicine Grand Rounds at Johns Hopkins
            School of Medicine, Baltimore, MD, January 31, 2002.

        126.“Gun Violence and Gun Policy Conference”, Brookings Institute, Washington, D.C., January 25, 2002.

        127.“Emergency Medicine Advocacy: A Model Discussion”, Northwestern University, Department of Emergency
            Medicine, December 2001.

        128.“Emergency Medicine Advocacy”, Northwestern University, Chicago, Illinois, December 19, 2001.

        129.“Firearm suicide in Wisconsin 1999: Urban/rural and age-related patterns”, Mobilizing for a Safe USA, Atlanta, GA,
            December 3-5, 2001.

        130.“Improve Research Information and Data on Firearms”, National Academy of Science Committee, 2 nd Meeting,
            Irvine, CA, November 15, 2001.

        131.“The Public Health Approach to Reducing Firearm Injuries”, AMA Key Stakeholders Meeting, Oak Brook, IL,
            November, 2001.

        132.“Linking the gun with homicides and suicides: A model analysis of the who, when, and where of the gun’s first
            purchase”, American Society of Criminology, Atlanta, GA, November 6-10, 2001.

        133.“Firearm Injury Data Systems”, AMA Science Reporters Conference, San Francisco, California, October 30, 2001.


        134.“Firearm suicide: The Wisconsin experience, 1999”, American Public Health Association, 129 th Annual Meeting,
            Atlanta, Georgia, October 20-24, 2001.

        135.“Relationship of household gun ownership to firearm suicide rates in Wisconsin communities”, American Public
            Health Association, 129th Annual Meeting, Atlanta, Georgia, October 20-24, 2001.

        136.“Firearm Homicide in Milwaukee and the Progress of the Firearm Injury Reporting System”, The Milwaukee Fire
            and Police Commission, Milwaukee, Wisconsin, October 18, 2001.

        137.“Identification and Classification of Homicide in Wisconsin 2000: A Comparison of Two Data Systems”, Medical
            College of Wisconsin 2001 Student Research Forum, Milwaukee, Wisconsin, October 4, 2001.

        138.“Demonstrating the Linkage of Data Sets from the Firearm Injury Center and the City of Milwaukee Using
            Geographic Information System Analysis” Medical College of Wisconsin 2001 Student Research Forum,
            Milwaukee, Wisconsin, October 4, 2001.

        139.“The Public Health Challenge and the Model Firearm Injury Reporting System”, Plenary Presentation, Aiming for
            Prevention: International Medical Conference on Small Arms, Helsinki, Finland, September 28-30, 2001.

        140.“Highlights of the Firearm Injury Reporting System’s first statewide report: Investigating regional differences”, 13 th
            Annual Milwaukee County Medical Examiners Office Forensic Science Seminar, Milwaukee, Wisconsin,
            September, 2001.

        141.“What We Don’t Know is Killing Us: The Need for Better Data about Firearm Injuries and Deaths”, National
            Academy of Sciences Committee on Law and Justice, Washington, DC, August 30, 2001.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 37 of 72 Page ID #1570
                                                                                                     - 23 -
                                                                          Stephen W. Hargarten, MD, MPH
        142.“Injury Control of Gun Shot Wounds”, Advances in Trauma, American College of Surgeons, Kansas City, Missouri,
            December 8, 2000.

        143.“Trauma Care in the State of Wisconsin”, 2000 Annual Meeting of the Wisconsin Chapter of the American College
            of Surgeons, Waukesha, Wisconsin, December 2, 2000.

        144.“Travel Health: Clinical Issues for Occupational and Environmental Health Providers”, American Occupational
            Health Conference, American College of Occupational and Environmental Medicine, Philadelphia, Pennsylvania,
            May 18, 2000.

        145.“To Be or Not to Be a Physician Scientist Advocate: That is the Question”, Emergency Medicine Spring Research
            Forum, University of Michigan, Ann Arbor, May 2000.

        146.“US Citizen Deaths Abroad: What we know, don’t know, and need to know to prevent them”, Occupational Health
            Conference, Philadelphia, Pennsylvania, May 14, 2000.

        147.“Firearms: The Need for Better Information and Safer Guns”, Commission for the Prevention of Youth Violence,
            American Medical Association, Houston Texas, May 9, 2000.

        148.“Understanding State-of-the-Art Treatment & Prevention of Firearm Injuries”, National Conference for Health Care
            Professionals, Froedtert Memorial Lutheran Hospital, Milwaukee, WI, December 10-11, 1999.

        149.“Better Data, Safer Guns Equals Fewer Injuries”, Gun Violence Forum, Entertainment Industries Council, Los
            Angeles, California, November 3-4, 1999.

        150.“Bridging the Gap between Information and Policy: A Public Health Approach to Reducing Firearm Injuries”,
            Conference of Wisconsin Network for Health Policy Research, University of Wisconsin School of Medicine,
            Madison, WI, November 4-5, 1999.

        151.“Counting Firearm-related Deaths: A case study for better surveillance and knowledge through data linkage,”
            Emergency Medicine New England Conference, Newport, Rhode Island, August 11-13, 1999.

        152.“Guns, Cars & Death: A View from a Room,” Department of Emergency Medicine and Division of Traumatology
            and Surgical Critical Care Grand Rounds, University of Pennsylvania Medical Center, Philadelphia, PA, July 9,
            1999.

        153.“The Scientist as Policy Advocate: Clarifying the Issues and Framing the Data for Effective Policy Development
            and Debate,” 1999 Society for Academic Emergency Medicine Annual Meeting, Boston, MA, May 23, 1999.

        154.“Firearm Injury Surveillance”, The 5th Annual Citizens’ Conference to Stop Gun Violence, The Educational Fund to
            End Handgun Violence, Washington DC, November 13-14, 1998.

        155.“Public Health Strategies to Address Family Violence”, National Advisory Council on Family Violence, Rosemont,
            IL, April 4, 1998.

        156.“Rapid Deceleration Injuries Involving Recreational Vehicles”, Flight for Life’s Annual Emergency Services
            Conference: Trends and Issues 1998, Flight for Life, Milwaukee, WI, April 4, 1998.

        157.“Rapid Deceleration Injuries Involving Recreational Vehicles”, Flight for Life’s Annual Emergency Services
            Conference: Trends and Issues 1998, Flight for Life, Milwaukee, WI, March 31, 1998.

        158.“Taking Aim at Cars and Guns”, Skills Fair 1998, Shared Governance Development Council, Froedtert Memorial
            Lutheran Hospital, Milwaukee, WI, March 26, 1998.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 38 of 72 Page ID #1571
                                                                                                           - 24 -
                                                                               Stephen W. Hargarten, MD, MPH
        159.“Preventing Firearm Injury: Protecting Our Children”, Firearm Injury Prevention Training Conference, American
            Academy of Pediatrics, Chicago, IL, March 14-15, 1998.

        160.“Scope and Nature of Firearm Injury Research: Issues and Challenges” Injury Prevention Research Center, The
            University of Iowa, Iowa City, IO, February 1998.

        161.“Mechanism of Injury”, Flight for Life’s Trauma Nurse Specialist Course, Flight for Life, Milwaukee, WI, February 4,
            1998.

        162.“Scope and Nature of Firearm Injury Research: Issues and Challenges”, University of Iowa Injury Prevention
            Research Center, Iowa City, IO, February 3, 1998.

        163.“Adult Option of the Master’s Program in Nursing” Medical College of Wisconsin, Fall Semester, Marquette
            University College of Nursing, Milwaukee, WI, August 24 - December 6, 1997.

        164.National HELP Conference -Tracking the Firearm Epidemic National Conference, Washington DC, April 1997.


        165.Lafollette Institute-Public Health Model for Reducing Firearm Injuries and Deaths, Madison, WI, April 1997.

        166.“Futures in Emergency Medicine Research Conference, Macy Foundation, Washington D.C., March 1997 (invited
            as representing the Association of Academic Chairs in Emergency Medicine)

        167.“Emergency/Trauma Medicine.” Sheboygan Memorial Medical Center, Knights of Columbus Center, Sheboygan,
            WI, February 18, 1997.

        168.“Firearm Injury Prevention: A Model Strategy.” Medical College of Wisconsin, Winter Refresher Course for Family
            Physicians, Pfister Hotel, Milwaukee, WI, January 30, 1997.

        169.The Johns Hopkins School of Public Health and Hygiene, Gun Policy and Research Center, Baltimore, MD
            December 3-6, 1996.

        170.“The Nature and Scope of Firearm Injury Research: Issues and Challenges.” Visiting Professor, The Johns
            Hopkins School of Public Health and Hygiene, Gun Policy and Research Center, Baltimore, MD, December 3-6,
            1996.

        171.“The Milwaukee County Firearm Injury Reporting System.” Healthy People, National Health Promotion and
            Disease Prevention Objectives, Violent and Abusive Behavior - 1996 Progress Review, Washington, DC,
            November 26, 1996.

        172.“Violence Prevention.” Tenth Annual Summer Trauma Symposium. Paper Valley Hotel & Conference Center,
            Appleton, WI, June 1996.

        173.“Teenage Violence.” Tenth Annual Summer Trauma Symposium. Paper Valley Hotel & Conference Center,
            Appleton, WI, June 1996.

        174.Injury Prevention and Control for Emergency Medicine, Department of Emergency Medicine, University of
            Pittsburgh Medical Center, Pittsburgh, PA, May 1996.

        175.”Firearm Injury Surveillance System.” 1996 Attorney General’s Law Enforcement Conference, Stevens Point, WI,
            May 1996.

        176.”The Milwaukee County Firearm Injury Reporting System.” Visiting Professor, Department of Emergency Medicine,
            University of Pittsburgh Medical Center, Pittsburgh, PA, May 1996.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 39 of 72 Page ID #1572
                                                                                                        - 25 -
                                                                              Stephen W. Hargarten, MD, MPH

        177.“Tracking the Epidemic.” Third Annual HELP Network Conference: Promoting Public Policy for the Public’s Health,
            guest lecturer, Washington, DC, November 1995.

        178.“Injury and Violence Prevention: Confronting the Crisis.” 69th National School Health Conference of the American
            School Health Association, Milwaukee, WI, October 1995.

        179.”Guns and Violence: The Tragic Cost.” National Violence Prevention Conference, University of Iowa, Des Moines,
            IA, October 1995.

        180.“Monitoring Firearm Injuries.” National Violence Prevention Conference, University of Iowa, Des Moines, IA,
            October 1995.

        181.“Rural Trauma/Rural Violence.” Day of Country Medicine Conference, Howard Young Medical Center, Minocqua,
            WI, September 1995.

        182.“Firearm Violence and Gun Control in America.” Panel participant at the Wisconsin Surgical Society meeting, Lake
            Geneva, WI, September 1995.

        183.“Milwaukee County Firearm Injury Reporting System: A Model for Injury Prevention.” State of Wisconsin,
            Department of Health and Social Services, Milwaukee Managed Care Forum, Milwaukee, WI, August 1995.

        184.“Firearm Injury Prevention for Primary Care Physicians.” Family Practice Grand Rounds, Waukesha Memorial
            Hospital, August 1995.

        185.“Strategies to Reduce Firearm Deaths.” Wisconsin Council of Administrators of Special Services, Ltd., Madison,
            WI, May 1995.

        186.“Violence Prevention.” State Medical Society of Wisconsin Alliance, 66th Annual Convention, Milwaukee, WI, April
            1995.

        187.“Emergency Medicine Research: A View from the Riverbank.” Faculty Development Seminar Series, University of
            Illinois at Chicago, Department of Emergency Medicine, Chicago, IL, March 1995.

        188.“Committee on Transportation and Infrastructure Subcommittee on Surface Transportation.” Advocates for
            Highway and Auto Safety, Washington, DC, March 1995.

        189.”Firearm Injuries and Deaths.” Department of Psychiatry, University of Wisconsin - Madison Medical School,
            Milwaukee Campus, WI, March 1995.

        190.“Firearms, Violence and Prevention.” Public Issues Committee, Family Service of Milwaukee, Milwaukee, WI,
            March 1995.

        191.“Injury Control.” Grand rounds, Department of Emergency Medicine, William Beaumont Hospital, Department of
            Emergency Medicine, Royal Oak, MI, March 1995.

        192.“Understanding How to Access Health Care Delivery Systems II Conference.” Milwaukee Regional Medical
            Complex, Milwaukee, WI, March 1995.

        193.“Proposal to Establish a Reporting System for Firearm Injuries.” Public Issues Consortium, 12th Annual Legislative
            Breakfast, Milwaukee, WI, January 1995.

        194.“Firearm Violence: A Public Health Issue.” Marquette University College of Nursing, Milwaukee, WI, January 1995.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 40 of 72 Page ID #1573
                                                                                                         - 26 -
                                                                               Stephen W. Hargarten, MD, MPH

        195.“Handgun Violence as a Public Health Problem in our Community.” Social Development Commission, November
            1994.

        196.“Integrated Firearm Injury Reporting System: A Model for Communities.” Second Annual HELP Conference,
            Chicago, IL, October 1994.

        197.“Violence and Firearms: Reshaping the Discussion and Restructuring the Prevention Strategies.” Forum on Youth
            Violence Conference, Wisconsin AODA Education Network, Stevens Point, WI, October 1994.

        198.“Injury Control and Emergency Medicine.” American College of Emergency Physicians Scientific Assembly,
            Orlando, Florida, September 1994.

        199.“Trauma Systems.” American College of Emergency Physicians Scientific Assembly, Orlando, Florida, September
            1994.

        200.“Firearm Injury and Death Problems in the United States, Wisconsin, and Milwaukee.” Wisconsin Coroners &
            Medical Examiners Association, Oshkosh, WI, June 1994.

        201.“Firearm Injuries and Deaths: Reshaping the Discussion.” Department of Emergency Medicine, University of
            Missouri-Kansas City School of Medicine, Kansas City, MO, June 1994.

        202.“Injury Prevention and Control and Emergency Medicine.” Department of Emergency Medicine, University of
            Missouri-Kansas City School of Medicine, Kansas City, MO, June 1994.

        203.“The Science of Injury Prevention: A Framework for Violence Prevention.” The University of Wisconsin -
            Milwaukee, School of Nursing, Continuing Education and Outreach Program, Milwaukee, WI, March 1994.

        204."Firearm Injuries and Deaths: Reshaping the Discussion." Columbia Hospital Grand Rounds, Milwaukee, WI,
            February 1994.

        205.“Injury Patterns of Motor Vehicle Crashes." Wisconsin EMT Association Annual Conference, Milwaukee, WI,
            January 1994.

        206."Firearm Injuries and Deaths: Reshaping the Discussion." Milwaukee Forum, Milwaukee, WI, November 1993.


        207."Alcohol and Medicine: An Emergency Medicine Perspective." Association of American Medical Colleges,
            Washington, DC, November 1993.

        208."Handguns: Taking Aim at the Problem." Emergency Nurses Association Annual Meeting, LaCrosse, WI,
            September 1993.

        209.“Violence and the Elderly." Wisconsin Chapter American College of Emergency Physicians Annual Conference,
            LaCrosse, WI, September 1993.

        210."Advocacy in Public Health Workshop." Wisconsin Public Health Association Annual Conference, Appleton, WI,
            June 1993.

        211."State of the Art Session on Injury Control." Society for Academic Emergency Medicine, San Francisco, CA, May
            1993.

        212."Injury Prevention: A Crucial Aspect of Travel Medicine." Third Biennial International Travel Medicine Society
            Meeting. Paris, France, April 26, 1993.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 41 of 72 Page ID #1574
                                                                                                            - 27 -
                                                                                  Stephen W. Hargarten, MD, MPH

         213."Firearms Deaths and Injuries." Emergency Nurses Association - Milwaukee Chapter, Milwaukee, WI, January
             1993.

         214."Facial Injuries: Epidemiology, Acute Care, and Prevention." Wisconsin Emergency Medical Technician
             Association Annual Meeting, Milwaukee, WI, January 1993.

         215."Boating Injuries and Deaths: Challenges for Emergency Medical Services." American Trauma Society -
             Wisconsin Division, Stevens Point, WI, December 1992.

         216.“Firearm Injuries: Public Policy Issues, Data Sources for Firearms Injuries.” American Public Health Association,
             Washington, DC, November 1992.

         217.“Data Sources for Firearms Injuries: Problems and Opportunities.” Milwaukee Academy of Medicine, Milwaukee,
             WI, November 1992.

         218."EMTs and Injury Prevention: It's in our job description." American Trauma Society - Wisconsin Division,
             Milwaukee, WI, December 1991.

         219."Firearms and Children." Wisconsin Nurse Practitioners Conference, Madison, WI, November 1991.

         220."Drownings: Acute care and prevention." American Red Cross - Milwaukee Chapter, Milwaukee, WI, January
             1991.

         221."Fire-safe cigarettes." Illinois Public Health Association, Chicago, IL, May 1990.

         222."Travel-related mortality." Travel Medicine Update Conference, Seattle, WA, May 1990.

         223."Travel-related illness - Where have you been lately?" Wisconsin Chapter, American College of Emergency
             Physicians, October 12, 1989.

         224."Travel-related mortality." Travel Medicine Conference, Seattle, WA, May 1988.

         225."Motor Vehicle Crashes and Seat Belts." Beloit Memorial Hospital, May 1987.




     Exhibits:

                 1.      Producer: Photograph Exhibit - "Portraits of the Silent Epidemic" - Head Injury in Wisconsin, 1988.


     Medical College Committees:

                 Chair, Global Health Advisory Council, 2014-2019

                 Chair, Milwaukee Regional Medical Center Strategic Planning for Global Health, 2014- 2015

                 Chair, Global Health Department Liaisons, 2011- present

                 Board Member, Medical College Physicians, 2000- 2017

                 MCP Finance Committee, 2005-2007
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 42 of 72 Page ID #1575
                                                                                                        - 28 -
                                                                              Stephen W. Hargarten, MD, MPH
             Froedtert Credential Committee, 2005-2007

             Chair, Global Health Program Advisory Council, 2010-2011

             Member Department of Medicine Search Committee, Medical College of Wisconsin, 2000

             Froedtert & Medical College Joint Management Cabinet, 1997-2000

             Faculty Career Development Advisory Committee, Medical College of Wisconsin, 1998 - 2003

             Chair, Ad Hoc Committee for M3/M4 Curriculum, 1998

             Intramural Review Committee, Department of Medicine, Medical College of Wisconsin, 1999

             Intramural Review Committee, Department of Family Medicine, Medical College of
              Wisconsin, 1997

             Clinical Practice Group Committee, Medical College of Wisconsin, 1995 - 2000

             Curriculum and Evaluation Committee, Medical College of Wisconsin, 1998 – 2000

             Executive Committee of the Faculty, Medical College of Wisconsin, 1994 – present

             Nominating Committee - Medical College of Wisconsin, 1992 – 1995


     Medical College Teaching:

     1.      MCW Faculty’s Efforts in Low- and Middle-Income Countries” PhD in Public and Community Health Seminar,
             January 10, 2018



     2.      “MCW’s Impact on the World: From Milwaukee, Wisconsin to Around the Globe”, Asthma/Allergy, and Clinical
             Immunology Grand Rounds, Children’s Hospital of Wisconsin, September 22, 2017


     3.      “Global Health Electives: What to Consider with International Travel Health and Wellness” Global Health
             Elective Preparation, September 12, 2017

     4.      “MCW’s Global Health Efforts and Opportunities for Pharmacy” School of Pharmacy, January 16, 2017

     5.      “Global Health Impact” Department of Pediatrics Division of Adolescent Medicine, January 20, 2017

     6.      “Local/Global Lens: Exploring the Impact of Medical Training Experiences in Low-Resource Settings” Pediatrics
             Grand Rounds, December 2, 2016

     7.      “The State of MCW Global Health and Opportunities for Neurosurgery” Neurosurgery Grand Rounds,
             December 2, 2016

     8.      “Global and Local Global Health” Neurology Grand Rounds, December 2, 2016

     9.      “Developing a Medical Elective in Nicaragua” Orthopedic Grand Rounds, November 30, 2016
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 43 of 72 Page ID #1576
                                                                                                    - 29 -
                                                                          Stephen W. Hargarten, MD, MPH
     10.   “Global Health at MCW” Faculty Council Meeting, October 21, 2015

     11.   “Supporting Faculty’s Global Health Efforts” Administrators Monthly Meeting, September 3, 2015

     12.   “Minimizing GME Global Health Rotation Risk” Graduate Medical Education Committee, April 20, 2015

     13.   “Injury Prevention and Management in Resource Limited Settings” Pediatrics Noon Conference, February 18,
           2015

     14.   “Insight and Direction Global Health Nursing”, Froedtert Global Health Nursing Committee, November 26, 2014


     15.   “Global Health Definitions, Implications”, Physical Medicine and Rehabilitation Grand Rounds, December 5,
           2014

     16.   “Establishing Partnerships to Promote Global Health” PhD in Public and Community Health
           Global Health Seminar, September 29, 2014

     17.   “Promoting Diversity and Inclusion with Global Health Efforts” Diversity and Inclusion Committee, January 28,
           2014

     18.   “Growing a campus-wide Global Health Effort” Froedtert Hospital Operations Committee, Milwaukee,
           Wisconsin, January 22, 2014

     19.   “Growing a campus-wide Global Health Effort” Children’s Hospital and Health System Leadership, Milwaukee,
           Wisconsin December 10, 2013

     20.   “Global Health Program and Faculty Partnerships” Women’s Faculty Council, November 25, 2013

     21.   “Growing Global Health Opportunities” Neurology Faculty Meeting, October 10, 2013

     22.   “M4 Global Health Electives for MCW Students” Global Health Pathway Core Curriculum, April 25, 2013

     23.   “Move toward global health care, what new skills or knowledge will the physicians of the future need to master”
           Docere Panel, January 8, 2013

     24.   “Partnering with Faculty to Grow Global Health” Department of Ophthalmology, November 25, 2012

     25.   “Global Burden of Injury,” The Clinical and Translational Science Institute Seminar, September 20, 2012

     26.   “Ethical Considerations of Defining Global Health” Bioethics Summer Course Poverty, Justice and Global
           Health, June 6, 2012

     27.   “MCW’s Global Health Program: An Exciting New Development” Pediatric Surgery Grand Rounds, May 4, 2012


     28.   “Grand Rounds in Injury for the Master Clinician Pathway” M1, M2 & M3 students, Medical College of
           Wisconsin, March 29, 2012.

     29.   “What is the Definition of Global Health” PhD in Public and Community Health Seminar Series, February 14,
           2012

     30.   “Global Burden of Injury,” Global Health Pathway Program, January 5, 2012
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 44 of 72 Page ID #1577
                                                                                                     - 30 -
                                                                          Stephen W. Hargarten, MD, MPH
     31.   “Injury Prevention and Management in Resource Limited Settings” Pediatrics Noon Conference, November 30,
           2011

     32.   “Growing MCW’s Global Health Program and Opportunities to Engage” Medical College of Wisconsin Global
           Health Organization, Student Interest Group, November 28, 2011

     33.   “Faculty’s Global Health Efforts” Global Health Pathway Program, May 13, 2019. “Wound Ballistics”,
           Emergency Medicine Grand Rounds, Medical College of Wisconsin and Froedtert Hospital, March 10, 2011.

     34.   Health Policy and Physician Advocacy” M4 Selective, Family Medicine, Medical College of Wisconsin, February
           8, 2011

     35.   “Alcohol and and Youth: Big Problem with a Hospital Based Intervention”, Pediatric Trauma Grand Rounds,
           Children’s Hospital and Health System, May 12, 2010

     36.   “Reducing the Public Health Burden of Suicide: A View from the Room” for Department of Psychiatry and
           Behavioral Medicine Grand Rounds, Wheaton Franciscan Healthcare, Wauwatosa, WI, March 18, 2009

     37.   “Alcohol Related Illness in the ED”, Emergency Medicine Grand Rounds Lecture, Medical College of Wisconsin
           and Froedtert Hospital, December, 2008

     38.   “Department Administrator Update”, Emergency Medicine Grand Rounds Lecture, Medical College of
           Wisconsin and Froedtert Hospital, October, 2008

     39.   “Firearm Related Injury: Myths, Physiology & Epidemiology”, Pediatric Trauma Grand Rounds, Children’s
           Hospital of Wisconsin, December 4, 2007

     40.   “Gunshot Wounds: An Integrated Approach to a Biosocial Disease”, Integrated Grand Rounds, Medical College
           of Wisconsin, November 2, 2007

     41.   “Wound Ballistics”, Emergency Medicine Grand Rounds Lecture, Medical College of Wisconsin and Froedtert
           Hospital, July, 2008

     42.   “Injury Prevention”, Emergency Medicine Grand Rounds Lecture, Medical College of Wisconsin and Froedtert
           Hospital, July 5, 2007

     43.   “Emergency Medicine Update”, Grand Rounds Lecture, Medical College of Wisconsin and Froedtert Hospital,
           July 13, 2006

     44.   “Firearm suicide: The Wisconsin experience 2000”, 10th Annual Emergency Medicine Research Forum, Medical
           College of Wisconsin, April 16, 2002

     45.   “Comprehensive Injury Center at MCW”, EPI Seminar Series, Medical College of Wisconsin, October 18, 2001


     46.   “Advanced Trauma Life Support”, Instructor, Medical College of Wisconsin and Froedtert Hospital, June 21,
           2000

     47.   “Acute Trauma Care & Prevention”, AIM Program, Medical College of Wisconsin, Milwaukee, WI, August, 1996,
           1997, 1998, 1999

     48.   “Epidemiology of Unintentional and Intentional Injuries”, Course Director, Medical Student Lecture, Medical
           College of Wisconsin Graduate School, Milwaukee, WI, February-April 1998
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 45 of 72 Page ID #1578
                                                                                                    - 31 -
                                                                         Stephen W. Hargarten, MD, MPH
     49.   “Bags, Belts, and Bruises”, Emergency Medicine Grand Rounds, Medical College of Wisconsin, Milwaukee, WI,
           February 13, 1997

     50.   “Mechanism of Injury”, Trauma Nurse Specialist Course, Flight for Life, Milwaukee Regional Medical Center,
           Milwaukee, WI, January 29, 1997

     51.   “Firearm Injuries and Deaths,” Department of Epidemiology, medical student lecture, Medical College of
           Wisconsin, Milwaukee, WI, 1995, 1996, 1997, 1998, 1999

     52.   “Firearm Injury Epidemiology,” Epidemiology seminar of the Health Policy Institute, Medical College of
           Wisconsin, Milwaukee, WI, September 1996

     53.   “Propeller Injuries,” Flight for Life Lecture, Medical College of Wisconsin, Milwaukee, WI, March 1996

     54.   “Mechanisms of Injury”, Trauma Nurse Specialist Course. Flight for Life, Milwaukee Regional Medical Center,
           Milwaukee, WI, February 1996

     55.   “Scope and Nature of the Firearm Injury and Death Problem”, Fourth Annual Firearms Seminar, Froedtert
           Memorial Lutheran Hospital, Milwaukee, WI, January 1996

     56.   “Violence as a Public Health Issue,” First Annual Forum - The Changing Urban Health Care Environment:
           Ethical Implications, Sponsored by the Center for Ethics Studies, Marquette University, and the Center for the
           Study of Bioethics at the Medical College of Wisconsin, November 1995

     57.   “Issues & Challenges of Gunshot Wound Research”, J. (Deke) Farrington, MD, Trauma Visiting
           Professorship presented by the Section of Trauma & Emergency Surgery of the Medical College of
           Wisconsin, the American Trauma Society (Wisconsin Division), ACS Wisconsin Committee on Trauma,
           and Flight for Life, Milwaukee, WI, November 1995

     58.   “Firearm Injuries and Deaths: Epidemiology and Prevention”, Pathology lecture to medical students. Medical
           College of Wisconsin, Milwaukee, WI, November 1995

     59.   “Patterns of Injury and Opportunities for Prevention.” Milwaukee Regional Medical Complex, Flight for Life,
           Milwaukee, WI, March 1995

     60.   “Trauma Systems: Where Does Emergency Medicine Fit In?”, Emergency Medicine Grand Rounds, Medical
           College of Wisconsin, Milwaukee, WI, December 1994

     61.   “Wound Management.” Medical Student Lecture/Workshop, Medical College of Wisconsin, Milwaukee, WI,
           December 1994, 1995, 1996, 1997, 1998, 1999

     62.   “Trauma Systems: Who, What, Where?”, Surgery Grand Rounds, Medical College of Wisconsin, Milwaukee,
           WI, November 1994

     63.   “Firearm Injury and Death Problems in the United States, Wisconsin, and Milwaukee," Medical College of
           Wisconsin (Firearms Seminar) January 1994

     64.   “Injury Prevention.” Department of Pediatrics Research Seminar Series, Medical College of Wisconsin,
           Milwaukee, WI, January 1994

     65.   POMP Students, 1992 – 1994

     66.   Biostatistics & Epidemiology Course, First Year Medical Students at the Medical College of Wisconsin, March
           1993
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 46 of 72 Page ID #1579
                                                                                                              - 32 -
                                                                                    Stephen W. Hargarten, MD, MPH

     67.        Introduction to Clinical Medicine Lecture, Junior Medical Students, July 1993

     68.        Advanced Trauma Life Support Instructor/Shock Lecture, Medical College of Wisconsin, June 1993

     69.        Advanced Cardiac Life Support Instructor/Airway Management, Dysrhythmia Recognition, Medical College of
                Wisconsin, June 1993

     70.        Biostatistics Course Lecturer, Freshman Students, March 1993

     71.        “Alcohol and Health: Emergency Medicine View from the Bottom of the Bottle." Medical College of Wisconsin
                Emergency Medicine Grand Rounds, Milwaukee, WI, December 7, 1993

     72.        “The Epidemiology of Firearm Deaths and Injuries." Surgery Grand Rounds, Froedtert Memorial Lutheran
                Hospital, Milwaukee, WI, July 1993

     73.        “Firearm Deaths and Injuries: Lessons from the 1960s and the Corvair." Health Policy Institute Seminar,
                Medical College of Wisconsin Alumni Center, Milwaukee, WI, June 10, 1993

     74.        “Mechanisms of Injury", Trauma Nurse Specialist Course: Flight for Life, Milwaukee, WI, March 1993

     75.        “Firearms and Children", Children's Hospital of Wisconsin Grand Rounds, Milwaukee, WI, July 1992

     76.        Introduction to Advanced Cardiac, Life Support, Junior Students, July 1992

     77.        Wound Management Course, Junior Students, 1991 – present

     78.        Basic Trauma Life Support Course Director, 1989 1990, 1991, 1991


                                                          BIBLIOGRAPHY
     Original Papers:

           1.   Kohlbeck, S. A., Quinn, K., deRoon-Cassini, T., Hargarten, S., Nelson, D., & Cassidy, L. (2022, December
                22). “I’ve Given Up”: Biopsychosocial Factors Preceding Farmer Suicide in Wisconsin. American Journal of
                Orthopsychiatry. Advance online publication. https://dx.doi.org/10.1037/ort0000662

           2.   Timmer-Murillo, S.C., Schroeder, M.E., Trevino, C., Geier, T., Schramm, A.T., Brandolino, A.M., Hargarten,
                S., Holena, D., deMoya, M., Milia, D., & deRoon-Cassini, T.A. (In Press). Comprehensive Framework of
                Firearm Violence Survivor Care: A Review . JAMA Surg.

           3.   Girasek, D.C., Hargarten, S. (2022). Prevention of and Emergency Response to Drowning. N Engl J Med
                2022;387:1303-8.

           4.   Sakran, J.V., Hargarten. S., Rivara, F.P. (2022). Coordinating a National Approach to Violence Prevention. JAMA,
                Sept. 28, 2022 Volume 328, Number 12

           5.   Ehrlich, P.F., Pulcini, C.D., De Souza, H.G. Hall, M., Andrews, A., Zima, B.T., Fein, J.A., Chaudhary, S., Hoffmann,
                J.A., Fleegler, E.W., Jeffires, K.N., Goyal, M.K., Hargarten, S., Alpern, E.R. (2022). Mental Healthcare Following
                Firearm and Motor Vehicle Related Injuries: Differences Impacting Our Treatment Strategies. Ann Surg. 2022 June
                28. doi: 10.1097/SLA.0000000000005557. Online ahead of print.PMID: 35762587

           6.   Wyler, B.A., Young, H. M., Hargarten, S.W., Cahill, J.D. (2022) Risk of deaths due to injuries in travellers: A
                systematic review. J Travel Med 29.5 (2022): taac074.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 47 of 72 Page ID #1580
                                                                                                          - 33 -
                                                                                Stephen W. Hargarten, MD, MPH

        7.   Kohlbeck, S., Schramm, A., deRoon-Cassini, T., Hargarten, S., Quinn, K. (2022). Farmer Suicide in Wisconsin: A
             Qualitative Analysis. Journal of Rural Health. Summer 2022. Volume 38, Issue 3: 546-553.

        8.   Barron, A., Hargarten, S., & Webb, T. (2021). Gun violence education in medical school: a call to action. Teaching
             and learning in medicine 34.3 (2022): 295-300.

        9.   Dunton, Z. R., Kohlbeck, S. A., Lasarev, M. R., Vear, C. R., & Hargarten, S. W. (2021). The association between
             repealing the 48-hour mandatory waiting period on handgun purchases and suicide rates in Wisconsin. Archives of
             suicide research 26.3 (2022): 1327-1335.

        10. Kohlbeck, S., Levas, M., Hernandez-Meier, J., & Hargarten, S. (2021). Implementing the Cardiff Model for violence
            prevention: using the diffusion of innovation theory to understand facilitators and barriers to implementation. Injury
            Prevention 28.1 (2022): 49-53.

        11. Dunton, Z., Hargarten, S., Kohlbeck, S., & Osman, F. (2021). Homicide: a leading cause of death for black non-
            hispanics in Wisconsin. WMJ (Wisconsin medical journal), 120(S1), S6-S9.

        12. Kohlbeck, S., deRoon-Cassini, T., Levas, M., Hargarten, S., Kostelac, C., Totoratis, M., ... & Smith, J. (2021).
            Multidisciplinary data-sharing for community violence prevention: shifting power to the community. Injury
            prevention 27.Suppl 3 (2021): A4-A4.

        13. Martin, I. B., & Hargarten, S. (2020). The antiracist, propatient pledge of emergency medicine. Academic
            Emergency Medicine, 27(9), 932-933.

        14. McDougall, S., Annapureddy, P., Madiraju, P., Fumo, N., & Hargarten, S. (2020, December). Predicting Opioid
            Overdose Readmission and Opioid Use Disorder with Machine Learning. In 2020 IEEE International Conference
            on Big Data (Big Data) (pp. 4892-4901). IEEE.

        15. Hargarten, S. W. (2020). The Bullets He Carried. Western Journal of Emergency Medicine, 21(5), 1036.

        16. Kohlbeck, S, Hargarten, S, Cassidy, L. (2020). Age- and Sex-Specific Risk Factors for Youth Suicide: A
            Mixed Methods Review. WMJ 119.3 (2020): 165-170.

        17. Zosel, A., Kohlbeck, S., Davis, C. S., Meurer, L., & Hargarten, S. (2020). Medical student education for injury
             prevention: closing the gap. Injury Prevention 27.2 (2021): 201-205.

        18. Kohlbeck, S, Fumo, N, Hargarten, S. (2020). Systems Change for Suicide Prevention Among Adolescents: A Rural
            Wisconsin County Approach. Injury Prevention 27.2 (2021): 131-136.

        19. Bonk C, Weston B, Davis C, Barron A, McCarty O, Hargarten S. (2019). Saving Lives with Tourniquets: A Review
            of Penetrating Injury Medical Examiner Cases. Prehospital Emergency Care:
            DOI: 10.1080/10903127.2019.1676344

        20. Hernandez-Meier J, Akert B, Zheng C, Guse C, Layde P, Hargarten S. (2019). Status of Legal Firearm Possession
            and Violent Deaths: Methods and Protocol for a Retrospective Case-Control Study. Injury Prevention 25.Suppl 1
            (2019): i49-i58.

        21. Hargarten SW , Lerner EB, Gorelick M , Brasel K, deRoon-Cassini T, Kohlbeck S. Gun
            Violence: A Biopsychosocial Disease. Western Journal of Emergency Medicine: Integrating
            Emergency Care with Population Health, 2018; 19(6), 1024-1027.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 48 of 72 Page ID #1581
                                                                                                       - 34 -
                                                                            Stephen W. Hargarten, MD, MPH
        22. Levas M, Hernandez-Meier J, Kohlbeck S, Piotrowski N, Hargarten S. Integrating Population Health
            Data on Violence into the Emergency Department: A Feasibility and Implementation Study. Journal
            of Trauma Nursing: May/June 2018 – Vol 25 – Issue 3/149-158

        23. Rajan S, Branas CC, Hargarten S, Allegrante JP: Funding for Gun Violence Research Is Key to the
            Health and Safety of the Nation. American Journal of Public Health, Am J Public Health. 2018
            Feb;108(2):194-195. doi: 10.2105/AJPH.2017.304235. PMID: 29320291

        24. Hargarten, S: Firearm Injury in the United States: Effective Management Must Address Biophysical
            and Biopsychosocial Factors. Ann Intern Med. 2016 Dec 20;165(12):882-883. doi: 10.7326/M16-
            2244. Epub 2016 Oct 18. PMID: 27750331
        25. Bloemen EM, Rosen T, Schiroo JC, Clark S, Mulcare MR, Stern ME, Mysliwie R, Flomenbaum NE,
            Lachs MS, Hargarten S. Photographing injuries in the acute care setting: Development and
            evaluation of a standardized protocol for research, forensics, and clinical Practice. Acad Emerg Med
            May 2016; 23(5):653-9. Doi:10.1111/acem.12955. Epub 2016 Apr 13.
        26. Rosen T, Hargarten S, Flomenbaum NE, Platts-Mills TF. Identifying elder abuse in the Emergency
            Department: Toward a multi-disciplinary team-based approach. Ann Emerg Med; 63(3):378-82; Sept
            2016.
            Guse  CE, Hargarten S. Limitations of travel data for rate computations. Injury Prevention: Journal of
        27.
            the International Society for Child and Adolescent Injury Prevention. 2015; 21(e1):e153.

        28. Vu A, Duber HC, Sasser SM, Hansoti B, Lynch C, Khan A, Johnson T, Modi P, Clattenburg EJ,
            Hargarten S. Emergency Care Research Funding in the Global Health Context: Trends, Priorities,
            and Future Directions. Academic Emergency Medicine December 2013 20(12):1259-63.

        29. Myers SR, Salhi RA, Lerner EB, Gilson R, Mehrotra A, Kraus A, Kelly JJ, Hargarten S, Carr BG:
            Pilot Study Describing Access to Emergency Care in 2 States Using a Model Emergency Care
            Categorization System. Academic Emergency Medicine Volume 20, Issue 9, pages 894–903,
            September 2013.
        30. Hanlin ER, Delgado-Rendón A, Lerner EB, Hargarten S, Farías R: Fall Risk and Prevention Needs
            Assessment in an Older Adult Latino Population: A Model Community Global Health Partnership.
            Progress in Community Health Partnerships: Research, Education, and Action 2013; 7(2):191-9.

        31. Kowalenko T, Gore R, Sachs CS, Barata IA, Gates D, Hargarten SW, Josephson EB, Kamat S, Kerr
            HD, McClain A, Cunningham RM. Workplace Violence in Emergency Medicine: Current Knowledge
            and Future Directions, Journal of Emergency Medicine 43.3 (2012): 523-531.

        32. Galvin S, Robertson R, Hargarten S. Injuries Occurring in Medical Students during International
            Medical Rotations: A Strategy towards Maximizing Safety. Family Medicine 2012; Jun 44(6):404-7.

        33. Webb T, Winthrop A, Klingbeil F, Hein L, Czinner M, Christiansen A, Hargarten S, Simpson D. Using an Inter
            professional Approach to Teach about the Disease of Injury. Wisconsin Medical Journal, 2011.

        34. Schlotthauer AE, Guse CE, Brixey S, Corden TE, Hargarten SW, Layde PM. Motor Vehicle Crashes Associated
            with Alcohol: Child Passenger Injury and Restraint Use, Am J Prev Med,
            2011 Mar 40(3): 320-3.

        35. Villaveces A, Christiansen A, Hargarten SW. Developing a Global Research Agenda on Violence and Injury
            Prevention: A Modest Proposal, Injury Prevention 16.3 (2010): 190-193.

        36. Pribble JM, Fowler EF, Karmat SV, Wilkerson WM, Goldstein KM, Hargarten SW. Communicating Emerging
            Infectious Disease Outbreaks to the Public Through Local Television News: Public Health Officials as Potential
            Spokespeople, Disaster Medicine and Public Health Preparedness, 2010; (4) 220-5 .
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 49 of 72 Page ID #1582
                                                                                                       - 35 -
                                                                             Stephen W. Hargarten, MD, MPH
        37. Runyan CW, Hargarten S, Hemenway D, Peek-Asa C, Cunningham RM, Costich J, Gielen AC. An Urgent Call to
            Action in Support of Injury Control Research Centers, Am J Prev Med, 2010; 39(1)89-92.

        38. Houry D, Cunningham RM, Hankin A, James T, Bernstein E, Hargarten, S. Violence Prevention in the Emergency
            Department: Future Research Priorities, Journal of Acad Emerg Med, November 2009; 16(11),1089-95.

        39. Tonellato DJ, Guse CE, Hargarten SW. Injury Deaths of US Citizens Abroad: New Data Source, Old Travel
            Problem. J Travel Med 16.5 (2009): 304-310.

        40. Wanta BT, Schlotthauer AE, Guse CE, Hargarten SW. The Burden of Suicide in Wisconsin’s Older Population.
            Wisconsin Medical Journal 2009; 108(2), 87-93.

        41. Hanrahan R, Layde P, Zhu S, Guse C, Hargarten S. The Association of Driver Age with Traffic Injury Severity in
            Wisconsin. Traffic Injury Prevention, 2009; 10(4), 361-367.

        42. Cunningham R, Knox L, Fein J, Harrison S, Frisch K, Walton M, Dicker R, Calhoun D, Becker M, Hargarten SW.
            Before and After the Trauma Bay: The Prevention of Violent Injury Among Youth. Ann Emerg Med. April 2009;
            53(4) 490-500.

        43. Meisel ZF, Hargarten S, Vernick J. Addressing Prehospital Patient Safety Using the Science of Injury Prevention
            and Control. Prehospital Emergency Care. 2008; 12:4, 411-16.

        44. Layde PM, Meurer LN, Guse CE. Yang H, Laud P, Meurer JR, Grube J, Brasel KJ, Hargarten S. Confidential
            Performance Feedback and Organizational Capacity Building to Improve Hospital Patient Safety: Results of a
            Randomized Trial. In Advances in Patient Safety: New Directions and Alternative Approaches. AHRQ Publication
            No. 08-0034- 2. August 2008. Vol. 2. Culture and Redesign; pp. 1-12. Agency for Healthcare Research and
            Quality, Rockville, MD.

        45. Pribble JM, Trowbridge MJ, Kamat SV, Fowler EF, Goldstein KM, Hargarten SW: Injury Reporting on Local TV
            News: A Prime-Time Opportunity for Prevention, May 2008; 34(5), 420-23.

        46. Pan S, Hargarten S, Zhu S. School Bus and Traffic Safety. Chinese Journal of Tramaology. August 2007.

        47. Guse C, Cortés L, Hargarten S, Hennes H. Fatal injuries of US citizens abroad. J Travel Med. 2007; 14 (5), 279–287.

        48. Phelan MB, Falimirski ME, Simpson, Czinner ML, Hargarten SW. Competency-based strategies for injury control
            and prevention curricula in undergraduate medical education. Injury Prevention. 2007; 13(1):6-9.

        49. Heng K, Hargarten SW, Craven A, Layde P, Zhu S. Motor vehicle crashes and moderate alcohol Intake – Conflict
            Between Health Advantage and At-Risk Use. Alcohol & Alcoholism. 2006;41:451-54

        50. Cortes LM, Hargarten SW, Hennes HM. Recommendations for water safety and drowning prevention for travelers.
            J Travel Med. 2006; 13(1): 21-34.

        51. Zhu S, Layde P, Guse C, Laud P, Pintar F, Nirula R, Hargarten S. Obesity and risk for death due to motor vehicle
            crashes. American Journal of Public Health, April 2006;94(4):#1-6.

        52. Allen S, Zhu S, Sauter C, Layde P, Hargarten S. A Comprehensive Statewide Analysis of Seatbelt Non-Use with
            Injury and Hospital Admissions: New Data, Old Problem. Academic Emergency Medicine. 2006;13:427-34.

        53. Glysch RL, Hale, LJ , Nie C, Hargarten SW. Wisconsin's violent death reporting system: Monitoring and
            responding to Wisconsin's violent deaths. WMJ 2005;104 (1);17-19.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 50 of 72 Page ID #1583
                                                                                                           - 36 -
                                                                                Stephen W. Hargarten, MD, MPH
        54. Layde PM, Meurer LN, Guse CE, Meurer JR, Yang H, Laud P, Kuhn EM, Brasel KJ, Hargarten SW. Medical injury
            identification using hospital discharge data. In Advances in Patient Safety: From Research to Implementation.
            AHRQ Publication No. 0500021(1-4) February 2005. Vol 2; pp.119-132. Agency for Healthcare Research and
            Quality, Rockville, MD.

        55. Meurer JR, Meurer LN, Grube J, Brasel KJ, McLaughlin C, Hargarten SW, Layde PM. Combining performance
            feedback and evidence-based educational resources: A model to promote medical injury prevention. In Advances
            in Patient Safety: From Research to Implementation. AHRQ Publication No. 050021 (1-4). February 2005. Vol 4;
            pp 237-252. Agency for Healthcare Research and Quality, Rockville, MD.

        56. Pan S, Chen E, Zhu S, Layde P, Pirrallo R, Hargarten S. Epidemiology Characteristics of Road Traffic Injury in
            China. Chin J Emerg Med. 2005;14(9):709-14.

        57. Sauter C, Zhu S, Allen S, Hargarten S, Layde P: Increased Risk of Death or Disability in Unhelmeted Wisconsin
            Motorcyclists. WMJ. 2005; 104 (2): 39-44.

        58. Shiffler T, Hargarten SW, Withers RL. The burden of suicide and homicide of Wisconsin's children and youth. WMJ
            2005;104(1):62-67.

        59. Vernick JS, O’Brien M, Hepburn LM, Johnson SB, Webster DW, Hargarten SW. Unintentional and undetermined
            firearm-related deaths: a preventable death analysis for three safety devices. Injury Prevention 2003;9:307-311.


        60. Milne JS, Hargarten SW, Kellerman AL, Wintemute GJ: Effect of current federal regulations on handgun safety
            features. Ann Emerg Med January 2003; 41(1):1-9.

        61. Hargarten SW: The Physician’s Role in Preventing Small Arms Injury. Medicine Conflict and Survival. 18(4): 389-
            393, Oct.-Dec. 2002.

        62. Kuhn EM, Nie CL, O’Brien ME, Withers RL, Wintemute GJ, Hargarten SW. Missing the target: A comparison of
            buyback and fatality-related guns. Injury Prevention 8:143-146, 2002.

        63. Layde P, Maas L, Teret S, Brasel K, Kuhn E, Mercy J, Hargarten SW. Patient Safety Efforts Should Focus on
            Medical Injuries. JAMA 287(15):1993-7, 2002.

        64. Hargarten SW. Docs and cops: A collaborating or colliding partnership? Ann Emerg Med 2001; 38:438-440.

        65. Hargarten SW. Three shots, two dead, five errors, one gun: A recipe for prevention? Ann Emerg Med 2001;
            37:340-341.

        66. Cortes L, Hargarten SW. Preventive care in the emergency department: a systematic literature review on
            emergency department-based interventions that address smoke detectors in the home. [Review] [21 refs]
            Academic Emergency Medicine. 8(9):925-9, 2001.

        67. Nie C, Hargarten SW. Wisconsin needs to support death investigation: Here’s why. Wis Med J 2001;100(2): 60-
            62.

        68. Brasel K, Layde P, Hargarten SW. Evaluation of Error Medicine: Application of a Public Health Model.
            Academic Emergency Medicine November 2000; 7: 1298-1300.

        69. Hargarten SW, Kuhn EM, Mercy JA, Withers RL, Nie CL, O’Brien ME. Suicide guns: why collect the
            information? Injury Prevention 2000;6:245-246.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 51 of 72 Page ID #1584
                                                                                                       - 37 -
                                                                             Stephen W. Hargarten, MD, MPH
        70. Barber C, Hemenway D, Hargarten SW, Kellermann A, Azrael D, Wilt S. “Call to arms” for a national reporting
            system on firearm injuries. Am J Public Health. 2000;90:1191-93.

        71. Hootman JM, Annest JL, Mercy JA, Ryan GW, Hargarten SW: National estimates of non-fatal firearm related
            injuries other than gunshot wounds. Jour Inj Prev 6(4):263-267, 2000.

        72. Cisler RA, Hargarten SW: Public health strategies to reduce and prevent alcohol-related illness, injury and
            death in Wisconsin and Milwaukee County. WMJ, June 2000, 71-78.

        73. Withers RL, Mercy JA, Hargarten SW: Public health: A successful paradigm applied to firearm injuries. WMJ
            99(1):48-50, 2000.

        74. Milne J, Hargarten SW: Handgun safety features: A review for physicians. J Trauma: Injury, Infection and
            Critical Care 47(1):145-150, 1999.

        75. Vernick JS, Meisel ZF, Teret SP, Milne JS, Hargarten SW: “I didn’t know the gun was loaded”: an examination
            of two safety devices that can reduce the risk of unintentional firearm injuries. Journal of Public Health Policy
            20(4):427-440, 1999.

        76. Milne J, Hargarten SW: The availability of extrinsic handgun locking devices in a defined metro area. WMJ
            98(7):25-28, 1999.

        77. Wolff M, Pirrallo RG, Hargarten SW: Strengthening emergency medicine in Poland: A training and partnership
            model. Acad Emerg Med 5(12):1187-1192, 1998.

        78. Freed LH, Vernick JS, Hargarten SW: Prevention of firearm-related injuries and deaths among youth—a
            product orientated approach. Pediatric Clinics of North America 45(2):427-438, 1998.

        79. Fox J, Stahlsmith L, Remington P, Tymus T, Hargarten S: The Wisconsin firearm-related injury surveillance
            system. Am J Prev Med 15(3S):101-108, 1998.

        80. Teret SP, Defrancesco S, Hargarten SW, Robinson KD: Making Guns Safer. Issues in Science and
            Technology, 14(4): 37-40, 1998.

        81. Mannenbach M, Hargarten SW, Phelen MB: Alcohol use among injured patients aged 12 to 18
            years. Acad Emerg Med 4(1): 40-44, 1997.

        82. Yoganandan N, Pintar FA, Kumaresan S, Maiman DJ, Hargarten SW. Dynamic Analysis of
            Penetrating Trauma. Journal of Trauma-Injury Infection & Critical Care 42(2):266-72, 1997.

        83. Hargarten SW, Haskins L, Stehlsmith L, Chatterjee B, Morgan J, Remington P, Nashold R, Peterson
            P, Karlson T: Firearm-related deaths and hospitalizations - Wisconsin, 1994. CDC M&M Wkly
            Report, Sept 6, 1996: 45(35): 757-759.

        84. Pollock G, Brady W, Hargarten S, DeSilvey D, Carner CT: Hypoglycemia manifested by sinus
            bradycardia: A report of three cases. Acad Emerg Med 3(7): 700-707, 1996.

        85. Tymus TA, O’Brien ME, Hargarten SW: Wisconsin firearm injury surveillance system development:
            A comparison of medical examiner/coroner data. WMJ 95(5):277-282, 1996.

        86. Hargarten SW, Anderson A, Walker J, Barboriak JJ.: Travel of U.S. citizens after coronary artery
            bypass surgery. J Travel Med 1996; 3(1): 7-10.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 52 of 72 Page ID #1585
                                                                                                    - 38 -
                                                                       Stephen W. Hargarten, MD, MPH
        87. Hargarten SW, Karlson TA, O’Brien ME, Hancock J, Quebbeman E: Characteristics of firearms
            involved in fatalities. JAMA 275(1): 42-45, 1996.

        88. Meldon S, Hargarten SW: Ligamentous injuries of the wrist. JEM 13(2): 217-225, 1995.

        89. Wang-Cheng R, Dillig K, Buthie E, Gilson I, Greaves W, Hargarten S, Nannis P: Public health
            strategies: To reduce firearm injuries and deaths in Milwaukee county - Executive Summary. WI
            Med J 572-584,1995.

        90. Pirrallo RG, Wolff M, Simpson DE, Hargarten SW: Analysis of an international EMS train-the-trainer
            program. Ann Emerg Med 25(5): 656-659, 1995.

        91. Hargarten SW, Karlson T: Motor vehicle crashes and seat belts: A study of emergency physicians’
            procedures, charges, and documentation. Ann Emerg Med 24(5): 857-860, 1994.

        92. Kellermann A, Conway C, et al: Access of Medicaid recipients to outpatient care. New Eng J Med
            1994; pp1426-1430.

        93. Hargarten SW, O’Brien M: Trends in motor vehicle and firearm deaths in Wisconsin: An analysis for
            examining prevention strategies. WI Med J 93(10): 521-524, 1994.

        94. Garrison HG, Runyan CW, Tintinalli JE, Barber CW, Bordley WC, Hargarten SW, Pollock DA, Weiss
            HB: Emergency department surveillance: An examination of issues and proposal for a national
            strategy. Ann Emerg Med 24(5): 849-856, 1994.

        95. Aufderheide T, Apprahamian C, Mateer J, Rudnick E, Manchester EM, Lawrence SW, Olson SW,
            Hargarten SW: Emergency airway management in hanging victims. Ann Emerg Med 24(5): 879-
            884, 1994.

        96. Kefer MP, Hargarten SW, Jentzen J: Death after discharge from the emergency department. Ann
            Emerg Med 24(6): 1102-1107, 1994.

        97. Hargarten SW, Karlson T, Vernick JS, Aprahamian C: Motorboat propeller injuries in Wisconsin:
            Enumeration and prevention. J Trauma 37(2): 187-190, 1994.

        98. Hargarten SW: Injury prevention: A crucial aspect of travel medicine. J Trvl Med 1(1): 48-50, 1994.


        99. Meldon S, Hargarten SW: Airplane vacuum toilets: An uncommon travel hazard. J of Trvl Med
            1(2):104-105, 1994.

        100.Bernstein E, Goldfrank LR, Kellerman AL, Hargarten SW, Jui J, Fish SS, Herbvert BH, Flores C,
            Caravati ME, Krishel S, et al: A public health approach to emergency medicine in preparing for the
            twenty-first century. Acad Emerg Med 1(3): 277-286, 1994.

        101.Weesner CL, Hargarten SW, Aprahamian C, Nelson DR: Fatal childhood injury patterns in an urban
            setting: The case for primary prevention. Ann Emerg Med 23(2): 231-236, 1994.

        102.Hargarten SW: Injury control. Acad Emerg Med 1(2): 168-171, 1994.

        103.Hargarten SW, Bouc GT: Emergency air medical transport of United States citizen tourists: 1988-
            1990. Air Med J 12(10): 398-402, 1993.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 53 of 72 Page ID #1586
                                                                                                       - 39 -
                                                                             Stephen W. Hargarten, MD, MPH
        104.Hargarten SW, Karlson T: Injury control: A crucial aspect of emergency medicine. Emerg Med Clin
            N Amer 11(1):255-262, 1993.

        105.Lambrecht CJ, Hargarten SW: Hunting-related injuries and deaths in Montana: The scope of the
            problem and a framework for prevention. J of Wilderness Med 4: 175-182, 1993.

        106.Walker B, Hargarten SW: Another drug-related death. J of Emerg Med 10(5): 649-650, 1992.

        107.Hargarten SW, Roberts MJ, Anderson AJ: Cancer Presentation in the Emergency Department: A
            Failure of Primary Care. Am J Emerg Med, 10(4):290-293, 1992.

        108.Hargarten SW: Availability of safety devices in rental cars: An international survey. Trvl Med Interntl
            1992; 10(3): 109-110.

        109.Hargarten SW, Hanel DP: Volar metacarpal phalangeal joint dislocation: A rare and often missed
            injury. Ann Emerg Med 21(9): 1157-1159, 1992.

        110.Baker T, Hargarten SW, Guptill KS: Uncounted dead: Americans dying overseas. Public Health
            Reports 107(2): 155-159, 1992.

        111.Grunert BK, Hargarten SW, Matloub HS, Sanger JR, Hanel DP, Yousif NJ: Predictive value of
            psychological screening in acute hand injuries. J Hand Surg –Am Vol 17(2): 196-199, 1992.

        112.Hargarten SW: International travel and motor vehicle crash deaths: The problem, risks, and
            prevention. Trvl Med Interntl 9(3): 106-110, 1991.

        113.Hargarten SW, McKinney WP: Malaria in Wisconsin 1981-1989: A review of cases and update on
            chemoprophylaxis. WI Med J 90(5): 215-217, 1991.

        114.Hargarten SW: All terrain vehicle mortality in Wisconsin: A case study in injury control. Amer J
            Emerg Med 9(2): 149-152, 1991.

        115.Hargarten SW, Baker TD, Guptill K: Overseas fatalities of United States citizen travelers, 1975 and
            1984: An analysis of deaths related to international travel. Ann Emerg Med 20(6): 622-626, 1991.

        116.Guptill KS, Hargarten SW, Baker TD: American travel deaths in Mexico: Causes and prevention
            strategies. West J Med 154:169-171, 1991.

        117.Hargarten SW, Baker T, Baker TD: Injury deaths and American travelers. Travel Medicine:
            Proceedings of the First Conference on International Travel Medicine 1-64, 1988.

        118.Hargarten SW, Baker SP: Fatalities in the Peace Corps: A retrospective study: 1962-1983. JAMA
            254(10): 1326-1329, 1985.


     BOOKS/CHAPTERS/MONOGRAPHS/NON PEER-REVIEWED ARTICLES:

        1.   Kohlbeck S., Pederson L., Hargarten S. (2020) Defining Gun Violence Using a Biopsychosocial
             Framework: A Public Health Approach. In: Geffner R., White J.W., Hamberger L.K., Rosenbaum
             A., Vaughan-Eden V., Vieth V.I. (eds) Handbook of Interpersonal Violence and Abuse Across the
             Lifespan. Springer, Cham. https://doi.org/10.1007/978-3-319-62122-7_308-1

        2.   Keystone, JS, Kozarsky, PE, Freedman, DO, Nothdruft, HD, and Connor, BA, Hargarten S. Chapter
             47: "Injuries and Injury Prevention", Travel Medicine 3 rd Edition, El Sevier.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 54 of 72 Page ID #1587
                                                                                                        - 40 -
                                                                              Stephen W. Hargarten, MD, MPH

        3.   Yonas MA, Frattaroli S, Liller KD, Christiansen A, Gielen AC, Hargarten S, Olsen LM. Moving Child
             and Adolescent Injury Prevention and Control Research into Practice: A Framework for Translation.
             Injury Prevention for Children and Adolescents: Research, Practice, and Advocacy (2nd edition).
             American Public Health Association, 2012 Print ISSN: 0090-0036 | Electronic ISSN: 1541-0048.

        4.   Hargarten SW, Lerner EB: Injury Prevention and Control. Rosen's Emergency Medicine 7th Edition
             2009;37:286-294

        5.   Hargarten SW: Injuries and Injury Prevention. In Health Problems While Traveling pp 485-491,
             2008.

        6.   Runge J, Hargarten SW: Injury Prevention and Control. In Emergency Medicine: Concepts and
             Clinical Practice, Marx J, Hockberger S, Walls R., 6th ed, Mosby, Vol 1, pp 940-951, 2006.

        7.   Hargarten SW, Grenfell R: Travel-related Injuries: Epidemiology and Prevention. In the Textbook of
             Travel Medicine and Health, HL DuPont, MD and R Steffen, MD, 2nd Edition, B.C. Decker Inc., 1999.


        8.   Freed LH, Vernick JS, Hargaten SW: Prevention of Firearm-related Injuries and Deaths Among
             Youths: A Product-Oriented Approach. In Pediatric Clinics of North America, Saunders, 45(2): 427-
             438, 1998.

        9.   Runge J, Hargarten SW: Injury Control. In Emergency Medicine: Concepts and Clinical Practice,
             Rosen, Barkin, 4 th ed, Mosby, Vol 1, pp 397-406, 1997.

        10. Karlson T, Hargarten SW: Reducing Injury and Death: A Public Health Sourcebook on Guns.
            Rutgers University Press, 1997

        11. Hargarten SW, Gursu KG: The Travel Related Injuries, Epidemiology, and Prevention. In Textbook
            of Travel Medicine and Health, H.L. DuPont, MD and R. Steffen, MD, ed, B.C. Decker Inc., 1997.

        12. Hargarten SW, Williams JM: Injury Prevention and the Role of the EMS Provider. In Basic Trauma
            Life Support for Paramedics and Advanced EMS Providers, John Emory Campbell, MD, FACEP
            (Ed), American College of Emergency Physicians, Brady, Prentice Hall, New Jersey, 1995.

        13. Swart GL, Hargarten SW: Emergency Department Management of Intoxication with Drugs of Abuse.
            In Pharmacological Therapies in Drug and Alcohol Disorders, N.S. Miller, ed. Marcel-Dekker, Inc,
            New York, 1994.

        14. Martinez R, Gardner J, et al.: “Applying an Injury Control Model to the Treatment of Motor Vehicle-
            Related Injuries. American College of Emergency Physicians, Dallas, Texas, 1994.

        15. Hargarten SW: The Epidemiology of Travel-Related Deaths. In Travel Medicine Advisor. E. Jong
            and J. Keystone, eds. American Health Consultants, Atlanta, Georgia, 1990.

        16. Sheridan DP, Winogrond IR, et al: The Preventive Approach to Patient Care. Elsevier Science
            Publishing, 1987.




     COMMENTARY, EDITORIALS AND LETTERS TO THE EDITOR:
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 55 of 72 Page ID #1588
                                                                                                        - 41 -
                                                                             Stephen W. Hargarten, MD, MPH
        1.   Hargarten, Stephen W. Lerner, E. Brooke Gorelick, Marc Brasel, Karen deRoon-Cassini, Terri
             Kohlbeck, Sara. Commentary - Gun Violence: A Biopsychosocial Disease. West J Emerg Med.
             Sept 10, 2018;19(6)

        2.   Hargarten S., MCJATLANTA Editorial: Dr. Stephen Hargarten: Gun Violence a ‘Public Health Issue’
             Milwaukee Community Journal, March 5, 2018

        3.   Hargarten SW.Editorial: Firearm Injury in the US: Effective Management Must Address Biophysical
             and Biosocial Factors. Annals of Internal Medicine, 2016 Dec 21; 24(65).

        4.   Hargarten S. Reflections on a 37 Years of EM Clinical Practice. Academic Emergency Medicine,
             2016.

        5.   Hargarten S. Reflections on a Mass Shooting. Academic Emergency Medicine, 2015.

        6.   Hargarten S. Opinion Editorial: The Global Burden of Gun Violence. Milwaukee Journal-Sentinel,
             January 30, 2016.

        7.   Hargarten S. Reflections on Leaving the Bedside. Academic Emergency Medicine, December 2015;
             23(1):113.

        8.   Hargarten S, Halverson J. Opinion Editorial: Reducing Gun Violence in Milwaukee. Milwaukee
             Journal-Sentinel, May 9, 2015.

        9.   Guse C, Hargarten S. Correspondence: Limitations of Travel Data for Rate Computations. Injury
             Prevention, February 21, 2014.

        10. Hargarten S, Martin IBK, Hauswald M, Hirshon JM. Executive Summary: Global Health and
            Emergency Care – What Do We Need to Know to Address the Burden of Illness and Injury?
            Academic Emergency Medicine, December 2013; 20(12):1213-15.

        11. Hargarten S. Using Alcohol as an Excuse to Walk Away from the Patient. Milwaukee Journal-
            Sentinel, March 6, 2010.

        12. Hargarten S, Reed J. First Step in Preventing Violent Deaths: Data. Milwaukee Journal-Sentinel,
            Jun 21, 2008.

        13. Corden T, Hargarten S, Brixey S, Clementi B, Peterson N. Booster Seats: Inform Parents. Milwaukee
            Journal-Sentinel, Nov 15, 2007.

        14. Hargarten SW. Docs and cops: A collaborating or colliding partnership? Ann Emerg Med October
            2001;38:438-440.

        15. Hargarten SW, Cortes LM. Landmines: Not Just Another Travel Risk. Journal of Travel Medicine.
            8(5):229-231.

        16. Hargarten SW. Three shots, two dead, five errors, one gun: a recipe for prevention? Ann Emerg Med
            March 2001;37:340-341.

        17. Hargarten, SW, Kuhn EM, Mercy JA, Withers RL, Nie CL, Obrien ME: Suicide guns: Why collect
            this information? Jour Inj Prev 6(4):245-246, 2000.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 56 of 72 Page ID #1589
                                                                                                        - 42 -
                                                                           Stephen W. Hargarten, MD, MPH
        18. Barber C, Hemenway D, Hargarten S, Kellermann A, Azrael D, Wilt S: “A Call to Arms” for a National
            Reporting System on Firearm Injuries. Editorial. American Journal of Public Health 90:8:1191-
            1193, 2000.

        19. Withers RL, Mercy JA, Hargarten SW: Public health: A successful paradigm applied to firearm
            injuries. WI Med Journal, Jan/Feb 2000.

        20. Hargarten SW: Emporiatric Medicine—Growing into the 21st century: From patient care to population
            care. Editorial. J Travel Med 6(2):59, 1999.

        21. Hargarten SW: Alcohol-related injuries: Do we really need more proof? Editorial; comment. Ann
            Emerg Med 33(6):699-701,1999.

        22. Hargarten SW: Injury control research and wilderness medicine: a babe dangling in the woods.
            Editorial. Wilderness & Env Med 10(1):2, 1999.

        23. Hargarten SW: Alcohol-related research and advocacy: Much to do, many places to do it! Editorial.
            Ann Emerg Med 31(5): 638-639, 1998

        24. Withers R, Hargarten SW. Real data needed on firearms and firearm safety. Editorial. Wisconsin
            Lawyer 71(4), 1998.

        25. Hargarten SW, Olson L, Sklar D: Emergency Medicine and injury control research: Past, present,
            and future. Editorial. Acad Emerg Med 4(4): 243-244, 1997.

        26. Hargarten SW: So, just do it... Go upstream. Acad Emerg Med 3(4): 293-294,1996.

        27. Rubens AJ, Hargarten SW, Oleckno WA: Comparison between emergency department and
            inpatient E-codes. Letter. Acad Emerg Med 3(4): 385-3866,1996.

        28. Hargarten SW: Atlanto-occipital dislocation. J Emerg Med 11(6):760-761, 1993.

        29. Hargarten SW: Travel related diseases: Injury and infectious disease prevention. J Wilderness
            Medicine 4(4): 464-465,1993.

        30. Quebbeman EJ, Hargarten SW: The black talon: A new risk for percutaneous injury. Letter. J
            Trauma 35(3): 489, 1993.

        31. Jameson SJ, Hargarten SW: Calcium pretreatment to prevent Verapamil induced hypotension in
            patients with SVT. Editorial. Ann Emerg Med 21(1): 68,1992.

        32. Schultz CH, Hargarten SW, Babbitt J: Inhalation of a coin and a capsule from metered-dose inhalers.
            Letter. New Engl J Med 325(6): 431-432,1991.

        33. Hargarten SW: Injuries in Wisconsin. Letter. WI Med J 89(4):158,1990.

        34. Hargarten SW: Injury prevention in emergency medicine. J Emerg Med 6(3):248, i. 1988

        35. Hargarten SW, Sanders AB: Injury prevention in medical school curriculums. Ann Emerg Med
            15(2): 226, 1986.




     ABSTRACTS:
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 57 of 72 Page ID #1590
                                                                                                      - 43 -
                                                                          Stephen W. Hargarten, MD, MPH
           1.    Rajan S, Branas C, Hargarten S, Allegrante J: Funding for Gun Violence Research Is Key
                 to the Health and Safety of the Nation. American Journal of Public Health, January 10, 2018


           2.    Kopatich D, Hernandez-Meier J, Hargarten S: Geographic Fluctuations of Violent Deaths in
                 Children and Youth over Time. 2015 Injury Prevention (21).

           3.    Meurer LN, Bernstein R, Brousseau DC, Hargarten S, Treat R: Primary care match is
                 associated with scholarly concentrations focused on underserved local and global
                 communities. 2015 AAMC Medical Education Meeting, Baltimore, MD, November 2015

           4.    Oswald J, Kostic M, Gummin D, Kopp B, Hargarten S. Poison Center Consultation
                 Decreases Hospital Length of Stay and Inpatient Charges, North American Congress of
                 Clinical Toxicology, Denver, CO, October, 2010

           5.    Woods LA, Kuhn EM, Nie CL, Hargarten SW. Losing Wisconsin dairy farmers to suicide.
                 American Public Health Association 130th Annual Meeting and Exposition, Philadelphia,
                 Pennsylvania, November 9-13, 2002.

           6.    Woods LA, Kuhn EM, Nie CL, Jashinsky LA, Hargarten SW. Suicide among Wisconsin
                 farmers. American Association of Suicidology, 35th Annual Conference, Bethesda, MD, April
                 10-13, 2002.

           7.    Kuhn EM, Mercy JA, Nie CL, O’Brien ME, Withers RL, Hargarten SW: Firearm homicide in
                 relation to location of public housing in the City of Milwaukee. American Society of
                 Criminology, San Francisco, CA, Nov 15-18, 2000.

           8.    O’Brien M, Nie C, Kuhn E, Hargarten S, Withers R: Criminal history and firearm ownership
                 of firearm homicide perpetrators. American Society of Criminology, San Francisco, Nov 15-
                 18, 2000.

           9.    Hargarten SW, Kuhn EM, Nie C, O’Brien, Withers R: Analysis of firearm type, caliber, and
                 manufacturer associated with homicides and suicides in a defined geographic region.
                 APHA, Boston, Nov 12-16, 2000.

           10.   Nie CL, Kuhn EM, Mercy JA, O’Brien ME, Hargarten SW: Characteristics of firearms
                 involved in family and intimate partner homicides: Milwaukee County, 1991-1998. National
                 Conference on Health Care and Domestic Violence, San Francisco, Oct 13-14, 2000.

           11.   Milne JS, Nie CL, O’Brien M, et al: Homicide and Suicide Handguns: Two Unique
                 Populations, Emergency Medicine Forum, Medical College of Wisconsin, Milwaukee, WI,
                 April 18, 2000.

           9.    Hargarten SW, Kuhn EM, Nie CL, Withers RL, Wintemute GJ: Homicide Gun
                 Characteristics Before and After the 1994 Crime Bill. American Public Health Association,
                 127th Annual Meeting, Chicago, Illinois, Nov 7-11, 1999
           10.   O’Brien ME, Hargarten SW, Nie CL, Withers RL, Kuhn EM. Linking the gun with the death:
                 the who, when, and where of the gun’s first purchase. American Society of Criminology,
                 Toronto, Canada, November 17-20, 1999.

           11.   Milne JS, Nie CL, O’Brien ME, Hargarten SW. Effect of the Bureau of Alcohol, Tobacco, and
                 Firearm (ATF) Factoring Criteria on Homicide and Suicide Handguns. American Society of
                 Criminology, Toronto, Canada, November 17-20, 1999.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 58 of 72 Page ID #1591
                                                                                                  - 44 -
                                                                      Stephen W. Hargarten, MD, MPH
           12.   Withers RL, Reza A, Hargarten SW. A Survey of State Reporting Statutes for Gunshot
                 Wounds. American Society of Criminology, Toronto, Canada, November 17-20, 1999.

           13.   Hargarten SW, Kuhn EM, Nie CL, O’Brien ME, Withers RL, Wintemute GJ. Homicide gun
                 characteristics before and after the 1994 Crime Bill. American Society of Criminology
                 Conference, Toronto, Ontario, Nov 17-20, 1999

           14.   Milne JS, Nie CL, O’Brien ME, Hargarten SW. Effect of the Bureau of Alcohol, Tobacco, and
                 Firearm (ATF) Factoring Criteria on Homicide and Suicide Handguns. American Public
                 Health Association, 127th Annual Meeting, Chicago, IL, November 7-11, 1999.

           15.   O’Brien ME, Hargarten SW, Nie CL, Withers, RL, Kuhn EM. Linking the gun with the death:
                 The who, when, and where of the gun’s first purchase. American Public Health Association,
                 127th Annual Meeting, Chicago, IL, November 7-11, 1999.

           16.   Kuhn EM, Nie CL, O’Brien ME, Withers RL, Wintemute GJ, Hargarten SW: A comparison of
                 buyback and fatality-related guns. American Public Health Association, 127 th Annual
                 Meeting, Chicago, Illinois, Nov 7-11, 1999 and American Society of Criminology
                 Conference, Toronto, Ontario, Nov 17-20,1999.

           17.   Withers RL, Reza A, Hargarten SW. A survey of state reporting statutes for gunshot
                 wounds. American Public Health Association, 127th Annual Meeting, Chicago, IL, November
                 7-11, 1999.

           18.   Hargarten SW, Kuhn EM, Nie CL, O’Brien ME, Withers RL, Wintemute GJ. Homicide gun
                 characteristics before and after the 1994 Crime Bill. Second Wisconsin Health Services
                 Research Conference: Health Services Policy Practice and Research: Making Connections,
                 Madison, WI, November 4-5, 1999.

           19.   Nie CL, Kuhn EM, O’Brien ME, Withers RL, Hargarten SW. Firearm homicide-suicide events
                 in Southeastern Wisconsin. American Association of Suicidology, Houston, Texas, April 15-
                 17, 1999.

           20.   Kuhn EM, Nie CL, O’Brien ME, Withers RL, Hargarten SW. Firearms used in Southeastern
                 Wisconsin suicides. American Association of Suicidology, Houston, Texas, April 15-17,
                 1999.

           21.   Nie CL, Hargarten SW. Reducing Firearm Injuries: Health Providers and Survivors Working
                 Together. The Fifth National HELP Network Conference, San Francisco, California,
                 February 5-6, 1999.

           22.   Hargarten SW, O’Brien ME, Quebbeman EJ, Nie CL, Kuhn EM. Integrated firearm injury
                 reporting system. Eastern Association for the Surgery of Trauma, 12 th Annual Meeting,
                 Orlando, FL, January 13-16, 1999.

           23.   Kuhn EM, Nie CL, O’Brien ME, Hargarten SW. Firearm-related suicides in Southeastern
                 Wisconsin. American Public Health Association, 126th Annual Meeting, Washington, DC,
                 November 15-19, 1998.

           24.   Nie CL, Kuhn EM, Hargarten SW. Urban versus rural firearm homicides and suicides in
                 youth. American Public Health Association, 126th Annual Meeting, Washington, DC,
                 November 15-19, 1998.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 59 of 72 Page ID #1592
                                                                                                    - 45 -
                                                                          Stephen W. Hargarten, MD, MPH
           25.   Hargarten SW, Kuhn EM, Nie CL, O’Brien ME, Withers RL, Wintemute GJ. Magazine
                 capacity and number of wounds for Milwaukee County Homicides before and after the 1994
                 Crime Bill. American Society of Criminology, 50th Annual Meeting, Washington, DC,
                 November 11-14, 1998.

           26.   O’Brien ME, Hargarten SW, Nie CL. Linking the Gun with the Death: the Who, When, and
                 Where of the Gun’s First Purchase. American Society of Criminology, 50 th Annual Meeting,
                 Washington, DC, November 11-14, 1998.

           27.   Nie CL, Kuhn EM, O’Brien ME, Hargarten SW. Urban versus rural firearm homicides and
                 suicides in youth. American College of Emergency Physicians Research Forum, San Diego,
                 California, October 11-12, 1998.

           28.   Nie CL, Kuhn EM, O’brien ME, Withers RL, Hargarten SW. Urban versus rural firearm
                 homicides and suicides in youth. 12th Annual California Childhood Injury Control
                 Conference, Sacramento, California, September 14-16, 1998.

           29.   Kuhn EM, Nie CL, O’Brien ME, Withers RL, Hargarten SW. Firearm-related suicides in
                 Southeastern Wisconsin. Violence Data Exchange Team (VDET), First National
                 Conference, Washington, DC, June 24-25, 1998.

           30.   Kuhn EM, Nie CL, O’Brien ME, Hargarten SW. Firearm-related suicides in Southeastern
                 Wisconsin. Wisconsin Public Health Association, Waukesha, WI, June 4-5, 1998.

           31.   Wolff M, Hargarten SW, Pirrallo RG: An Analysis of a US-based Project to Strengthen
                 Prehospital Emergency Medical Services (EMS) in Poland. Ann Emerg Med 23(4): 925,
                 1994.

           32.   Shepherd D, Hargarten SW: Alcohol Screening in the Emergency Department: Blood
                 Versus Saliva. Ann Emerg Med 23(2): 612, 1994.

           33.   Robertson ME, Hodel D, et al: Minimizing hypothermia: Comparison of the effluent
                 temperature of blood using three delivery methods and cold and pre-warmed starts. J
                 Emerg Nursing 19(5): 468, 1993.

           34.   Orsay EM, Muelleman RL, Peterson TD, et al: Motorcycle helmets and spinal injuries:
                 Dispelling the myth. Ann Emerg Med 21(5): 655, 1992.

           35.   Weesner CL, Apprahamian C, Hargarten SW: Fatal childhood injury patterns in an urban
                 setting: The case for primary prevention. Ann Emerg Med 21(5): 608, 1992.

           36.   Bergstein JM, Robertson ME, Hedell D, et al.: Rapid resuscitation may contribute to
                 hypothermia despite blood warmer use. Ann Emerg Med, 21(5): 597, 1992.

           37.   Hargarten SW, Karlson T, Oldham G: Alcohol and injuries in the ED: Patients, places, and
                 problems. Ann Emerg Med 20(4): 477, 1991.
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 60 of 72 Page ID #1593




                          Exhibit B
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 61 of 72 Page ID #1594




             Crime Lab Tests



                         August 2021
            Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 62 of 72 Page ID #1595




          Thompson .45 Auto




Exit Velocity: 212.4 m/s                                            Entrance Velocity: 292.6 m/s
                Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 63 of 72 Page ID #1596




              Thompson .45 Auto




Lateral view. Bullet travelled right to left.             Bottom view. Bullet travelled right to left.
 Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 64 of 72 Page ID #1597




Thompson .45 Auto
            Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 65 of 72 Page ID #1598




          5.56 NATO




Exit Velocity: 208.8 m/s                                            Entrance Velocity: 826.0 m/s
                Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 66 of 72 Page ID #1599




              5.56 NATO




Lateral view. Bullet travelled right to left.             Bottom view. Bullet travelled right to left.
 Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 67 of 72 Page ID #1600




5.56 NATO
            Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 68 of 72 Page ID #1601




          .30-06




Exit Velocity: 358.8 m/s                                            Entrance Velocity: 796.0 m/s
                Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 69 of 72 Page ID #1602




              .30-06




Lateral view. Bullet travelled right to left.             Bottom view. Bullet travelled right to left.
 Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 70 of 72 Page ID #1603




.30-06
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 71 of 72 Page ID #1604
Case 3:23-cv-00209-SPM Document 37-14 Filed 03/02/23 Page 72 of 72 Page ID #1605




Summary
